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Betsy Bates:          (silence)

Betsy Bates:          Before we start, I just wanna say good evening and thank you for attending
                      tonight's Board of Education meeting. The purpose of the meeting is to conduct
                      the business of the district and hear for our community on important issues. We
                      have reports to consider and business to conduct that are critical to the
                      functioning of our school district. We ask those in attendance tonight to remain
                      civil and respectful as the board conducts its business. Calling out, verbal
                      aggressiveness, inappropriate language, or name calling is not acceptable.

Betsy Bates:          If the meeting becomes unruly and we cannot conduct our business, the board
                      may take a recess until such time that the audience is appropriate. If
                      inappropriate behavior continues by individuals, they may be asked to leave the
                      meeting. If necessary, the board reserves the right to excuse the audience and
                      resume the meeting via livestream. We want everyone to have the ability to
                      hear the business of the district and the comments of those who are here to
                      speak. We appreciate your cooperation and that you took the time to attend
                      tonight's meeting.

Betsy Bates:          First up, we have the Pledge of Allegiance. Be- Anna Caldwell will help us lead
                      and she is joining us from The Way Church.

Anna Caldwell:        I pledge allegiance to the Flag of the United States of America, and to the
                      Republic for which it stands, one nation under God, indivisible, with liberty and
                      justice for all.

Audience:             I pledge allegiance to the Flag of the United States of America, and to the
                      Republic for which it stands, one nation under God, indivisible, with liberty and
                      justice for all.

Betsy Bates:          Right. If you'll join me in reciting our mission statement. Learning today, leading
                      tomorrow. Next up, our Holiday Assistant Partners Recognition. We have a
                      village of people to thank for their efforts related to this year's holiday
                      assistance program. Each year in December, the program provides gifts for
                      students in need. 13 schools participate, participated in our Adopt-A-Family
                      Program which matched families with caring donors. Seven schools partnered
                      with Morningstar Church and the Christmas Shop, and Heritage in Wentzville
                      Middle partnered with Calvary Church to participate in the Christmas store as
                      well. In total, 335 families received assistance, and 915 students had gifts to
                      open for the holidays.

Betsy Bates:          First, we would like to recognize our school counselors. They have already, they
                      have a ton on their plate already, but they continue to be committed to
                      ensuring every child has an opportunity to enjoy the holidays. So when I call
                      your name, please come to the stage for your recognition. Um, representing our
                      wonderful counselors, we have Stacy Browning from Discovery Ridge, Jackie



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                      Fine from, from Duello, Beth Overton from Lakeview, Kathy Pousson from
                      Wabash, Christy Van Onselen from North Point High School.

Betsy Bates:          (silence)

Betsy Bates:          Thank you all for your efforts. We are extremely fortunate to have our church
                      partners assist us in this endeavor as well. The Way Church in Wentzville is a
                      local church partner that steps up throughout the year to assist our families.
                      They help cover Operation Backpack, and many district projects have been
                      completed thanks to their acts of kindness. This year, The Way Church adopted
                      10 families and 28 children. Joining us this evening from The Way are Greg
                      Poland and Kelly Caldwell, volunteers at the church's Christmas Wishes
                      Program.

Betsy Bates:          Up next, Wentzville Christian Church adopted seven families and 19 children.
                      The church also provided a basket full of household supplies for each of the
                      families. Here with us this evening is Heather Bausch, program coordinator. This
                      is the third year that Bridge Church in Lake Saint Louis has partnered in the
                      Holiday Assistance Program. Bridge Church adopted seven families and 18
                      children. They have reached out to us regularly to ask, "What are your needs
                      and what can we do to help?" Joining us this evening are church members
                      Courtney Capizzi and Karen Tedeschi.

Betsy Bates:          The congregation at Wentzville United Methodist Church is a part of our
                      traditional Adopt-A-Family Program and also helps cover Operation Backpack
                      and Operation Breakfast. This year, 20 families were adopted by the church. In
                      total, the church has served 68 Wentzville school district students this year.
                      Here with us this evening from Wentzville United Methodist Church are pastor
                      Mark Dumas and program coordinator Lisa Morgenthaler. Thank you to all our
                      partners.

Betsy Bates:          (silence)

Dr. Curtis Cain:      That wasn't awkward at all.

Audience:             (laughs)

Dr. Curtis Cain:      Um, so thank you so very much. You literally have helped to bring the Christmas
                      and holiday season to students and families that are in need. And we are so very
                      thankful for the partnership, for the network, and more importantly for the
                      friendship with, uh, not only staff, but clearly with the, the Wentzville, uh,
                      community as well. So thank you so very much for what you've done. Thank
                      you. Let's give 'em, uh, another round of applause.

Dr. Curtis Cain:      (silence)




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Betsy Bates:          Next up, we have public forum. Before we begin, just a note, each resident of
                      the district requesting time to speak during public forum will register his or her
                      name, address, and state the issue to be discussed with the Recording Secretary
                      prior to the meeting. The board president will call the speaker to the floor. Each
                      speaker shall give his or her name and address upon recognition by the
                      president.

Betsy Bates:          Speakers will be allowed three minutes for their presentations, unless extended
                      by the board president. If more time is required for presentation, the citizen
                      should consider district policy for placement on the regular meeting's agenda.
                      Due to the possible number of speakers during public forum, the board
                      president may limit or extend the speaking time. If a number of speakers wish to
                      speak on the same topic, the group shall speak, select a spokesperson to
                      present that information.

Betsy Bates:          A speaker may address the board only once during public forum. Speakers may
                      offer such objective concerns of the school operations as they deem
                      appropriate. The board will not hear personal complaints of school personnel,
                      nor against any person connected with the district in public session. Matters
                      involving personnel shall be discussed by the board in executive session. An
                      employee of the Wentzville School District may address the board by following
                      the public forum guidelines, regardless of whether the employee is a resident of
                      the district.

Betsy Bates:          First up, tonight we have Julie Scott.

Dr. Julie Scott:      Good evening. My name is Doctor Julie Scott and I have the opportunity to
                      speak this evening on behalf of some teachers of the district who have, um,
                      provided us, um, some thoughts. "If COVID is just a cold, can someone please
                      explain why my family member can no longer play with his young kids like he
                      used to? Until COVID, he was a healthy man in his 40s. Now he has a
                      defibrillator and can't drive because his heart has stopped twice from the
                      damage of COVID. At the very least, we need to have virtual staff meetings and
                      professional development. It doesn't make sense to put all the staff together
                      when so many staff members are already sick. Can we at least have a virtual
                      option for those of us who are trying to stay well?"

Dr. Julie Scott:      The second, "Although yes, masks are not going to stop the spread. It will slow it
                      down." Three. "Thank you, Doctor Cain, for trying to protect our students and
                      staff, even though the board refuses to do so. Our school board is embarrassing.
                      They are very uneducated when it comes to COVID. They seem to only care
                      about the loud parents and are afraid of conflict. They really have no idea what
                      our staff goes through. Shame on you, Board of Education."

Dr. Julie Scott:      The 4th teacher. "The lack of support by our Board of Education is downright
                      embarrassing. This is a school district where education is being taught, but not
                      actual educated decisions are being made. Let's repeat that for those who are


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                      not listening, but instead being influenced by others opinions for personal gain
                      and control. No educated decisions are being made by individuals who are in
                      charge of this district. This is not directed towards our Superintendent, but to
                      the majority of the Board of Education.

Dr. Julie Scott:      Over and over again, we hear the babble of, 'Where's the data that proves this
                      or that?' from the board. And then we hear their unsupported, non-factual data
                      being spewed from their own mouths just to support their own agenda of
                      control and not the health and safety of this district. It's time to start doing your
                      jobs. This is a team effort and all I see is unwillingness to look past your own
                      noses as to what's really happening. We need educated decisions, not personal
                      agenda for control. Look to science, not to your phones for the opinions of
                      others."

Dr. Julie Scott:      And last, "I'm a teacher who has no sick days because of maternity leave and got
                      COVID. I was docked $2,000 because our COVID leave is up. My husband, who's
                      also a teacher and coach in the district, and my children attend school in the
                      district. If we're not taking mitigation, then what are we gonna do to protect our
                      teachers? We're getting sick and told we have to stay home without pay. We
                      have no choice. We're putting the children in our classes before our own
                      families and then told to just ride the bus until the wheels fall off by someone
                      who doesn't even have kids in the district.

Dr. Julie Scott:      I know our cabinet and Erin Abbott are fighting for us, as well as our
                      administrators and the parents of students. The only people who don't have our
                      best interests in mind are members of the board. They're gonna lose quality
                      teachers because of your poor choices. They wanna keep kids in school even
                      though they aren't getting a quality education because their teachers are out
                      sick." Thank you.

Betsy Bates:          Right. Next up, Jenna Roberson.

Jenna Roberson:       I, too, am reading on behalf of the teacher. "Hello, Wentzville School District
                      Board. I first off, want to say thank you for all that you do. I can't imagine being
                      in your shoes in a time like this. I am an SLP for the district and have had my son
                      going to school in the district for eight years now. Therefore, I am writing this as
                      both an employee and a parent. I have never attended a school board meeting
                      before, but after last Monday's meeting, I thought that it's about time that I do.
                      I was planning on attending this evening, but am unfortunately at home with
                      COVID, but I will most definitely be watching from home again.

Jenna Roberson:       I am well aware that you are constantly bombarded with phone calls and emails
                      from concerned parents and staff, but I'm really hoping that you will take an
                      extra minute to read mine. I work with special needs kids, so I wear my mask
                      every day. Why? Because of the kids. I make sure to distance at least six feet
                      away if I need to pull down my mask and to show them how to produce certain
                      sounds. Is it ideal? Not in any way whatsoever. However, did you know that


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                      children with autism, as well as children with ADHD have issues with personal
                      space? They are practically climbing into my lap on the daily. If I ask some of my
                      students to sanitize their hands after picking their nose, sometimes it's a five-
                      minute battle of wits.

Jenna Roberson:       They will not keep a mask on. Therefore, I worry about their safety being around
                      the children who are perfectly capable of wearing a mask. It's really not hard to
                      do. As a speech and language pathologist, I have learned a lot about child
                      development. Unfortunately, there are not enough studies to show the long
                      term effects of seeing a mask covering people's faces. I do know that from what
                      I saw last year, the kids weren't really bothered by the masks too much. They
                      seemed as happy as normal in a time where things were far from normal. I also
                      know that children in houses with one parent or sick parent can cause problems
                      due to unintentional neglect.

Jenna Roberson:       I also know that grief of the loss of a loved one can take a lifetime to move on
                      from. So when I look at a student who has lost his father to COVID, I feel that he
                      is in a much worse spot than the little girl whose parents don't think she should
                      have to wear one. If you have not lost anyone personally from COVID, you are
                      very fortunate, and I thank the Lord for that, and I hope that you never do
                      because I have. It is not fun. Sunday evening before the board meeting, in fact.
                      So needless to say, I was very disappointed in the way the meeting turned out
                      because in my mind, every positive case is a potential death.

Jenna Roberson:       Even if we are over worrying about COVID and it is just a cold, I'd rather be
                      wrong about wearing a mask than to not wear one and be wrong about that. I
                      like to think of it as if a drunk person was trying to decide how to get home. You
                      might make it home safely if you drive yourself. Statistically, you probably would
                      make it home okay, but why not just take an Uber? So you know you don't kill
                      yourself or someone else in the process. There's a reason for staying better safe
                      than sorry. I know because I'm an SLP. I wear a mask, I wear my seat belt, I stop
                      at stop signs, and I take the Uber." Thank you.

Betsy Bates:          Thank you. Next up, Julia Luetkenhaus.

Julia Luetkenha...:   Good evening, Doctor Cain, Board of Education, members of the cabinet. Um, I
                      am Julia Ms. Luetkenhaus. I am President of the Wentzville National Education
                      Association. I am a 30-year veteran of Education, 22 years in the school district. I
                      have never been ashamed to say that I worked here until last Monday night. It
                      was a travesty. And it was all... There was no blame to one person, to one per-
                      like watching it on TV was horrid. And I couldn't figure out how to stop it, and I
                      decided I had to come and say something. So here we go.

Julia Luetkenha...:   Doctor Carol Dweck, a renowned psychologist, has worked on research involving
                      the growth mindset for decades. In her book, Mindset, Dweck says that success
                      comes from having the right mindset rather than intelligence, talent, or
                      education. People with a fixed mindset believe that they're born with just a


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                      certain intelligence, with certain skills, abilities that they cannot change. When it
                      comes to school education, a growth mindset is incredibly useful. It encourages
                      pupils to see their position in the class as flexible and achievement as something
                      attainable by every single one of them.

Julia Luetkenha...:   It is a especially pertinent tool in the often uncertain and occasionally
                      overwhelming times that we now find ourselves in. As we adjust to the changing
                      world around us, educators have nurtured a flexible ethos in themselves to
                      evolve practices that they've become used to. I can attest to that. As a veteran, I
                      knew what I knew, and I have completely changed everything I knew. I had to
                      because that's what our kids needed. We encourage our learners to think of
                      themselves as evolutionary creatures that can adapt and improve, no matter
                      what the circumstances of their learning.

Julia Luetkenha...:   We've just finished our first semester of this school year. I encourage you to use
                      this growth mindset to assess where we are. And I say we on purpose because
                      it's not you and it's not me. We're all in this together. We have to ask ourselves,
                      "Have we done all that we can to move this district forward? Have we clearly
                      communicated to our constituents, our patrons, our staff, our plan as we do so?
                      Have we included and invited our constituents, our patrons and our staff in
                      developing those plans? Have we developed partnerships that will lead to a
                      better future for our district? Have we listened to all of our parents, our patrons
                      and our staff?"

Julia Luetkenha...:   If we answer no to any of these questions, then maybe it's time to adjust our
                      priorities. Take a step back and, with a growth mindset, look at what we've
                      done, what we're doing and where we need to, to go. The answer should
                      actually be not yet. And we should make a plan to address the things that we
                      figured out are wrong. To do anything less would be to shorten everything for
                      our students. And that's not fair. Thank you.

Betsy Bates:          Thank you. Next up, Donald Looney.

Donald Looney:        Good evening, Donald Looney here. Uh, first, I wanna say thank you, Julia.
                      Beautiful sentiments there. Uh, but I'm gonna pick up where the previous two
                      ladies stopped. Um, with some more testimonies from the teachers and staff.
                      This one goes, uh, "Perhaps the board is okay with letting the wheels fall off, but
                      what if it involves going out of compliance with the federal IEP? You might not
                      ever have thought of this as you have no background in education, our
                      administrator surely have. What if the teacher is out sick, no sub coverage, and
                      the pair support has to fill in without a sub for the pair support? Please address
                      publicly that you will still, that you are still okay not to follow mitigation
                      strategies.

Donald Looney:        Please do not say that we clean more when we are short staffed. And
                      sometimes, custodial staff apologizes that they're only able to pull trash out of
                      the classroom. Watching watching our board unable to make positive steps


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                      forward is like a child watching their parents argue. We feel our employment is
                      unstable without a solid foundation. We love our leader and we worry what will
                      happen if we lose quality leadership. How will we ever again attract qualified
                      candidates to lead our school district? Our Board of Education's poor behaviors,
                      and the poor behaviors of parents and their children are available for potential
                      candidates to watch on YouTube."

Donald Looney:        You have another one that says, "I've been a proud high school teacher in the
                      Wentzville School district for my entire career of 10 years plus. I'm very sad...
                      I'm very sad. Oh, I'm very sad to say that proud is not the word I use anymore
                      discussing my job in this district. I feel unsupported, unsafe in my classroom in
                      many aspects. The lack of COVID mitigation strategies and the lack of concern
                      about them has shown me how little I am valued here.

Donald Looney:        I used to be angry about all of this, but now it's just sad. I have considered other
                      careers and especially other districts over the last few years. This year was
                      supposed to be the year that this district, especially this board, showed me that
                      they could handle this. I do not want to leave, but I see very few options at this
                      point to attempt to find value and respect as an educator."

Donald Looney:        It seem I got time for one more. Uh, let's see. "We have the highest number of
                      cases in the district, but we are still having in-person meetings where we cram
                      everyone in a small space. We have staff members still coughing with COVID
                      who have come back after five days. There is no reason we can't be virtual from
                      our classroom..." Um, "... from our classrooms for these meetings." Thank you
                      for your time.

Betsy Bates:          Thank you. Next up, Katie Hubbard.

Katie Hubbard:        Katie Hubbard. "Schools are like families. We work as a team. When one person
                      is down and out, another person happily fills in. But what happens when it's not
                      just one person who is down and out, but it's five, 10, 15 or 20? What happens
                      to the rest of us? What happens to our kids? Here are some things that
                      happens. There's stress. How do we cover? There's confusion. 'Where is my
                      teacher? What my supposed to be learning?' There's resentment. 'Will I have to
                      take a sick day if my spouse, myself or other kids get sick?' There's fear. 'I'm
                      vaccinated, but if I get COVID, I can pass it along to my grandfather who lives
                      with us.' There's fatigue. 'I don't think I can do this anymore.' There's
                      abandonment. 'Why don't the people making decisions care about my health
                      and safety?'

Katie Hubbard:        We might limp through these crazy times, but what we will be, what will be the
                      long-term psychological repercussions? Will kids feel devalued because they
                      know that they're just being babysat? Will teachers leave the district because
                      they don't feel heard? Will the admin try to promote any new programs or
                      initiatives or become cynical or defeated? There is not a perfect answer, but we
                      don't know, but we don't want perfection. We just want the board to try and


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                      fight for us, the kids, teachers and the staff at the Wentzville school district.
                      Show us that you care. Do something helpful. If we are truly a family and a
                      community, then treat us like one."

Katie Hubbard:        "The past..." And now onto the second one. "The past two weeks have been
                      extremely difficult. I feel truly unsafe teaching in my classroom. In one of my
                      classes, I have 29 students where zero choose to mask. I do, and I have to
                      upgrade to my mask using my own money. Out of my group of close friends at
                      school, I was one, I was only one... I was the only one there with majority of the
                      days. Two are out with COVID. One was out with symptoms waiting for a test. I
                      feel like we have... I feel like I have been thrown to the wolves.

Katie Hubbard:        I was disrespected, disregarded and disheartened, dishear- heartened, mmm, by
                      the board's decisions to ignore the superintendent's recommendations. My
                      mental health suffered greatly the next day. I struggled to make it through.
                      There needs to be some plan in place, so no schools shut down due to lack of
                      staff. Students deserve a quality education from their teachers and some sense
                      of normalcy. If the goal is in-person learning what is the BO- BOE going to do to
                      ensure that it happens? This is my first year with the district. It will be my last
                      based on my future decisions, based on the future decisions of the BOE."

Betsy Bates:          Thank you. Next up is Jackson Martin.

Jackson Martin:       Hello, my name is Jackson Martin. I'm a student and senior here at Liberty.
                      Ladies, gentlemen and all those assembled here, this board has let us down. I
                      am, of course, referencing the so-called issue on COVID and its related
                      assortment. Saying that alone has brought up a phantasmagoria of opinions and
                      feelings. Before any non-hematologist begins making claims of hypoxia, I won't
                      be delving into the depths of scientific facts. I won't labor the point that masks
                      in- do indeed save lives, and that I will continue to wear mine even though I am
                      fully vaccinated and have had COVID.

Jackson Martin:       Instead, I bring a message that this board's response is totally reprehensible.
                      Majority of you have abandoned your duty, letting quality education slip into
                      something more akin to a relic of the past. We need teachers to teach us. When
                      they have COVID we aren't taught a thing. These wheels have been loose for
                      months. All it will take is a small bump in the road to utterly decimate a quarter
                      of learning. You could have assisted in tightening those wheels. You could have
                      done something. Anything. But you did nothing.

Jackson Martin:       To the majority of you, shame. Shame on you. These people, my fellow students
                      agree. And I feel as if I'm a Chamberlain waving this around. For the sake of
                      lives, for the sake of education, for the sake of human decency, give me a
                      reason to no longer have shame for the people that have my education in their
                      hands. Thank you for your time.

Betsy Bates:          Thank you. Next up is Jen Olson.


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Dr. Jen Olson:        Doctor Jen Olson here. I would like to address the dumpster fire that was last
                      week's meeting. In the packed room at the administration building, you could
                      hear a pen drop, a child's sneeze, and a parent shushing them. This doesn't
                      reasonably constitute a disruption. When one of the board, uh, of dire- when
                      one of the directors called for a recess, everyone in the room was surprised,
                      including the board. This board violated Robert's Rules of Order by Recessing
                      without a sufficient second on the motion, by not addressing the objection to
                      the motion, and by not requiring the vote, a vote to pass the motion.

Dr. Jen Olson:        The board then violated the Missouri Sunshine Law by convening outside of the
                      presence of the public with a quorum, and held a vote, or just unanimously
                      decided to direct the officers to arrest us for trespassing if we refuse to leave
                      the boardroom. Number one, law enforcement officers are not here to serve as
                      the personal security for this board or the administration. This is a public
                      meeting in a public building. The role of the officers is to uphold their oath to
                      the Constitution, which includes protecting the rights of the citizens, and to
                      ensure there is no violence or unlawful behavior from all parties in attendance.
                      I've spoken with the Wentzville police chief and he assured me I'm correct in
                      this statement.

Dr. Jen Olson:        Number two, in order to remove someone for trespassing at a public meeting in
                      a public building, they must be trespassing. In order to trespass, one must break
                      a law. We didn't break any laws. This board's treatment of the public has grown
                      increasingly hostile and we will not stand by and continue to allow the board or
                      administration to treat us this way, and repeatedly violate our civil rights. If this
                      type of behavior and treatment towards the public continues, we will be filing a
                      civil rights complaint as well as a complaint with the Missouri's Board of...
                      School Board's Association and MO DESE. We do not want to do that. If we did,
                      we would have done it a long time ago.

Dr. Jen Olson:        Also, I have ex- as I've explained to the board in the past, when a school
                      reserves a public forum at an open meeting, it provides that the citizens may
                      exercise their first amendment rights. This is considered a limited public forum
                      during which greater free speech protections apply. The board may not silence
                      speakers on the basis of their viewpoints or the content of their speech. This
                      would be considered a content-based restriction, and it is unconstitutional in
                      this forum. The board must live up to the values embodied in the First
                      Amendment.

Dr. Jen Olson:        A federal court in California invalidated a school district's board regulation that
                      prohibited speakers from criticizing district employees and board members by
                      name. Similarly, a federal court in Virginia struck down a school board
                      regulation that prohibited personal attacks during public comment. Board Policy
                      0412 under the Public Forum Section Item Number 7, under the Rules of
                      Decorum Section Item Number 2 are in violation of the First Amendment.




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 Dr. Jen Olson:        Board Policy 1431 under Code of Conduct Individual, the expectations of the
                       public conduct are subjective, judgmental, intimidating and in violation of the
                       First Amendment. Also, in Board Policy 1431, items 1 and 8 are intimidating, not
                       factual as it pertains to violations, compliance with law enforcement, grounds
                       for removal from a, a public meeting, and are in violation of our First
                       Amendment. We ask that the board amend these policies to ensure the district
                       does not continue to violate the most fundamental right of citizens.

 Betsy Bates:          Thank you. Time is up.

 Dr. Jen Olson:        The most fundamental right of citizens.

 Betsy Bates:          Next up is Vanessa Hagedorn.

 Vanessa Hagedor...:   Good evening. I'm Vanessa Hagedorn. Um, I would like to start, first off, by
                       thanking the board for your service. I can only imagine how truly difficult of a
                       time this is in order to, uh, to provide that service. So thank you for that. I'm
                       here tonight to talk about the book, The Bluest Eye, that was challenged back in
                       September. I must say I feel disappointed by how the submission of this
                       challenged material occurred.

 Vanessa Hagedor...:   The individual, according to board policy, who made the complaint, really
                       should have been better communicated with and kept abreast of what was
                       going on with this situation. Now, for those who might not be familiar with this
                       book, The Bluest Eye, the reason why it was challenged is it because included
                       pedophilia, rape and incest. As a former educator, I will say that that is very
                       concerning to me. Throughout my education, I always had a special, um, part,
                       uh, spot in my heart.

                                     PART 1 OF 6 ENDS [00:34:04]

 Speaker 1:            ... occasion I always had a special, um, part spot in my heart for children and to
                       think of a child encountering materials like this, especially if that child had been
                       sexually abused is devastating. The whole book, challenging thing doesn't
                       actually have to do with removing a parent's choice of what material they
                       should allow or don't allow for their child. What it has to do is it has to do with
                       protecting children. Children do not have the cognitive abilities to process these
                       adult situations, nor should they have to.

 Speaker 1:            We as parents are not asking this book to be banned from our community, we
                       are asking it for not to be retained in our district for the safety of our children.
                       And if a parent chooses for their child to read the book, they can access it at the
                       local public library. Pedophilia is against the law. Why would we choose to ever
                       retain a book that normalized it? Thank you.

 Speaker 2:            Next up is Claudia Jenkins.



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 Claudia Jenkins:      Hi, I am here to read a couple of things from a couple of teachers. Um, I love
                       teaching. I love my students. I love my coworkers. I don't love the fact that the
                       majority of The Board of Education sees us as replaceable commodities. I don't
                       love the current policies. I don't love that current pro- policies, don't care about
                       the quality of education. As long as the kids have somewhere to sit in a school
                       building for the required number of hours.

 Claudia Jenkins:      I no longer trust a district as a whole to provide the supported teacher needs to
                       maximize student learning. The board no longer trust the teachers and the
                       administrators to have the best interests of students as a center of our
                       decisions. They treat us as leaches that will take advantage of the system at
                       every opportunity. I refuse to provide my students with less and the best, but I
                       no longer trust the district to help me.

 Claudia Jenkins:      In the past, I have turned down opportunities to interview with districts with
                       better pay, better teaching loads and better sick leave. I will no longer turn
                       down those opportunities. When job openings post to spring, I will apply for
                       jobs and districts where their boards of educations have supported the health
                       and safety of their students and staff over political statements. I will no longer
                       encourage the best teachers I know to apply to Wentzville, but we'll tell them to
                       apply elsewhere.

 Claudia Jenkins:      I came to Wentzville based on teachers I knew who had moved here and have
                       had multiple teacher friends follow me to Wentzville that will no longer happen,
                       until the board shows that they trust people with actual training and education
                       in their field to make informed decisions I will be seeking to leave the district
                       and I will not be the only one.

 Claudia Jenkins:      Second statement, I don't feel this board of education cares about kids or staff.
                       They only seem to care about pushing an agenda. Everyone in schools are the
                       ones hurt by this. The dysfunction of the board is directly impacting our ability
                       to educate students. Not wanting to make unpopular decisions on masking
                       despite it being the best is causing staff issues. Teachers having to teach
                       students at home and in school and admin and teachers who are overworked
                       and stressed.

 Claudia Jenkins:      Teachers are not happy, feel unappreciated and are underpaid. A dangerous
                       combination that is going to be felt in our district in a very short period of time
                       for our community wants to rejoin or to retain good teachers, our board of
                       education, as well as our community need to come together and work to make
                       schools better, not tear them apart.

 Claudia Jenkins:      The dysfunction is causing teachers to look for other places where the pay is
                       higher. The boarding community are civil and make educated decisions and
                       where educator, educators, and administration are valued. This will be truly sad
                       for our students. In a personal note, I just wanna thank all the teachers that we
                       have in our district. I stand by you 100%. I trust that if there's an issue that you


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                       will come to me and talk to me about my child, or if they come to you with a
                       topic that's from a book that you will come and talk to me about it, but I
                       appreciate you. Thank you.

 Speaker 2:            Thank you. And last up this evening is Glen Becker.

 Glen Becker:          How you doing today? So to look at that more IT issues. So I've been up here for
                       two years and I've made this request twice and this will be the third time. Please
                       start an IT advisory committee for the board of education that is made up of
                       parents within this, this school district. It's simple, there's seven or eight of us.
                       We are willing to volunteer our time to help educate the board of education on
                       IT issues that are plugging this district.

 Glen Becker:          The IT budget at this school district is going up. Your quality of service is going
                       down. Now I would ask you to put up charts or graphs, but you haven't asked
                       your IT department of that. How many of you aware that you had an IT outage
                       on the final day, final semester of school? So much so that I had teachers calling
                       me apologizing because they were plagued by yet another IT outage with SIS or
                       canvas and they couldn't enter the grades.

 Glen Becker:          You asked the parents to contribute to the child's education. You asked the
                       parents to work with the teachers. You ask us to get involved. How can we do
                       that when I can't check my kids' grades online? How can teachers do that when
                       they can't post the kids' grades online? How is it possible that you're asking the
                       students to engage in technology at your school when the technology is faulty?

 Glen Becker:          But yet you sign contracts like charter where you're spending thousands of
                       dollars it's coming up, we had talked about that two board meetings ago, but
                       nobody's asked, did it actually work? You're launching a new credit card
                       application, which you had somebody come up to... an expert, come up and talk
                       to you about that. And after the board meeting, I pulled up the contract and
                       challenge both your CFO and your IT person in proof that they didn't even read
                       the contract.

 Glen Becker:          How many of you have actually read the IT contracts? I know that answer `cause
                       I talked to you. Four of you sitting up there have told me that you haven't read
                       the contracts when they come to IT `cause you don't understand the language. I
                       understand that, IT is difficult, lean on your community to help you take the
                       stress off the teachers, take the stress off the parents.

 Glen Becker:          Let us help you by advising you what needs to be done at the school. Let us help
                       you and let us help the students please, it's getting old. I had a teacher final
                       note, I'll say on this one, I had a teacher send an email out to me and a couple
                       other parents apologizing because their room telephone hasn't worked all year.

 Glen Becker:          That's a safety issue. That teacher could not make a phone call out of their
                       room, nor could they get a phone call into their room. So I asked other teachers,


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                       it turns out the phones haven't been working at one of your schools for quite a
                       while. They're hit and miss you have technology issues, stop just throwing the
                       community's money into a bucket. Stop going off of one person, put a
                       committee together. Let's solve your issues once and for all. Thank you.

 Speaker 2:            Thank you. All right. Up next. We need a motion to approve the consent agenda
                       as presented president Bates.

 Betsy Bates:          Yep.

 Speaker 2:            Um, I have a request to move item 1126 to old business for a separate vote and
                       discussion please.

 Betsy Bates:          Okay. Did you get that, Catherine? Okay.

 Sandy Garber:         I'd like to ask a question about a particular item 11.16.

 Speaker 2:            Okay. You wanna ask your question?

 Sandy Garber:         Yes. This is in reference to the contract that we looked at and if you can look at
                       page three of the contract, I'm sorry I had it written out here. Mm-hmm
                       (affirmative). Okay. 'Cause I must, let me look at that. I thought I had it with me.
                       Um, when you see page three, there was, um, there was actually some part of-

 Speaker 2:            Excuse me, director Garber. Um, president Bates, to have a discussion do we
                       need to have that item pulled for a separate discussion?

 Betsy Bates:          Um, we can have the discussion within the motion, but we would need, we
                       really do need a motion in the second before we start discussion.

 Speaker 7:            I make the motion.

 Speaker 2:            Okay. That's good. Thank you. Second. All right. Motion in a second. Director
                       Garber, you wanna proceed with your question?

 Mr. Alijvan:          President Bates, if I may do we need an amendment to that with the, the 1126
                       as amended with that pulled out?

 Betsy Bates:          Yeah.

 Mr. Alijvan:          Okay. Just a friendly amendment there.

 Speaker 2:            Do you accept that as a friendly amendment-

 Betsy Bates:          I'm sorry, I didn't hear a word. You said-

 Mr. Alijvan:          Yeah.

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 Betsy Bates:          ... what was it? Mm-hmm (affirmative). Oh, okay.

 Speaker 2:            Sorry, director Garber. We just needed that as amended and not as presented,
                       but you can continue with your question.

 Sandy Garber:         Okay. So let me just pull it up. I thought I had it in front of me, but just a
                       moment. There's a clarification of this particular item and that is that on page
                       three in the contract, there are items that are removed and cle- and scratch
                       through. So I'll wait for people to get there. 11. Yeah, Let me get to that. I'm
                       sorry.

 Speaker 2:            [Mr. Alijvan 00:44:44] is that you?

 Mr. Alijvan:          Yes. The reason that was scratched through is, uh, a lot of the cabinet members,
                       especially when they want their contract review, bring it to the business office
                       for review. The item scratch here was an indemnification clause that we did not
                       believe was good on behalf of this district we had, uh, my, my guess is here
                       because this type of indemnification clause, we don't normally let go in a
                       contract was probably removed because we had requested it. This is not the
                       type of indemnification clause that we would have wanted in this kind contract.
                       It seems that it's been stricken appropriately.

 Sandy Garber:         So I understood exactly why it was stricken, but exactly. Um, I didn't see any
                       initials on this. So this was, this was done by us. That's what you're saying?

 Mr. Alijvan:          Right? Uh, we are going to sign this contract with it struck out. They will have no
                       of a contract with this, not struck out.

 Sandy Garber:         So at this particular point in time, I really couldn't tell who struck it out, but
                       you're telling me now that it was a school district, normally in, in the process of
                       contracts, if you're going to technically remove something by scratching it out,
                       people do initial it. And so would this be initialed by the supplier?

 Mr. Alijvan:          The only person, uh, could probably initial this contract or sign this contract
                       would be the board.

 Sandy Garber:         Would be?

 Mr. Alijvan:          The board.

 Speaker 2:            Director Garber I can make... Do we have this contract, the whole contract
                       Catherine, we can make and I'll make sure to initial the, um, strike through.

 Sandy Garber:         Okay. And like I said, you know, when people scratch things out on a contract-

 Speaker 2:            Yeah. I think it's cleaner [crosstalk 00:46:24]. I think it's cleaner just to have sent
                       a new contract that would agree-


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 Sandy Garber:         Yeah, because otherwise, nobody knows who took that out. So I'm, I'm good
                       with that.

 Speaker 2:            Okay, any other? okay.

 Sandy Garber:         This would be on 11.23. This is just a question about escalating rental rates. It
                       seems to me this was on a lease renewal and it looks as though that it's, it's a,
                       obviously a three year contract and it's a significant raise in rental rates every
                       year. Isn't that the purpose of signing a lease so that you could lock in price
                       instead of monitoring how much it's escalating. So I, I don't know the answer to
                       that

 Speaker 2:            Mr. Alijvan.

 Mr. Alijvan:          This particular contract was on a standard price for a couple years. Uh, we did a
                       review of the price of this contract and we are getting an incredible deal during
                       negotiate. Well, I, I really shouldn't discuss the negotiations, but I can tell you
                       that, uh, we looked at a lot of, uh, contracts or a lot of other properties and we
                       are getting an extremely good price.

 Mr. Alijvan:          They wanted to increase the price all at one time we said, no, uh, we won't sign
                       the contract unless that price won't goes up only a certain amount each year. It
                       was during the negotiation process that we got a low price for the first year.
                       And then let it raise up to what we believe is the rate that is the, uh, going rate
                       for that type of property.

 Sandy Garber:         So when this contract is over then that obviously you're going to negotiate
                       higher on the following one, apparently, although I realize that's a couple of
                       years out.

 Mr. Alijvan:          Yeah. The, the way this, this contract is, is this is a, uh, a three-year-contract.
                       Uh, the first year contract, we don't, uh, we have to renew to the second year
                       and pay the, the higher rate at the second year, which we believe is still a good
                       rate. In the third year, we have an option, uh, six months before that contract is
                       signed to get out of that contract at, uh, at an anytime up to six months before
                       that third year starts.

 Sandy Garber:         Okay. Thank you. This was again about 11.27. This was in reference to students
                       that are enrolled into the district when the parent do not live in the district. And
                       I guess I was looking at this from a standpoint that while I understand that a
                       parent would like to be able to bring their children to school, but isn't the initial
                       cost of education then for that student then paid for by the Wentzville
                       taxpayers because are they not our, I mean, everyone pays their, their taxes in
                       the district that they live in. So how would that, how would that affect us?

 Speaker 2:            Mr. Schulty.



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 Mr. Schulty:          Uh, thank you. I'm director Garber to answer your question. The policy revisions
                       that we are recommending only pertain to those families who have, um, parents
                       that are currently working in the district and they live within our district. Um, so
                       what, what we were looking to do is, is open the opportunity for those that
                       reside in our district and not outside of the district at this time.

 Sandy Garber:         So you just said that parents that are working in our district-

 Mr. Schulty:          Working and living in our district.

 Sandy Garber:         And living in our district.

 Mr. Schulty:          Yes. Ma'am.

 Sandy Garber:         Well, wouldn't, they have the, what are you exactly? Are you saying, for
                       example, if they're, if they're in Duello and they, and they work in another
                       elementary, they can then transfer their child that I somehow, I didn't-

 Mr. Schulty:          Sure, sure.

 Sandy Garber:         ... I didn't know that.

 Mr. Schulty:          No, I I'm happy to explain.

 Sandy Garber:         Okay well I didn't read that.

 Mr. Schulty:          So the, the current policy that oversees the transfer of staff, children requires
                       that a, a staff member work fulltime within a specific feeder pattern in order for
                       their child to be eligible, to transfer into that feeder pattern. What we are to do
                       is open that up to any full-time employee in the district. Um, even if you don't
                       work in a specific feeder pattern, if it would benefit your family for your child to
                       attend a different feeder pattern than where, where you reside, we would like
                       to open that up. A, the best example would be, um, if we have a member of our
                       true transportation department-

 Sandy Garber:         Mm-hmm (affirmative).

 Mr. Schulty:          ... who's a full-time employee. Um, they currently do not have an option to look
                       at transferring their child to any other school other than where they reside. We
                       would like to open that up and recognize that our full-time employees that are
                       not associated with one building should have the same opportunity as those
                       third grade teachers at Duello who can choose to have their child come to
                       Duello.

 Sandy Garber:         Okay.




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 Mr. Schulty:          So, so this would, would truly, um, work in, in situations where we have full-
                       time staff in the district, no matter what building they work in, we would like to
                       open that option up to them at this point.

 Sandy Garber:         Has that been a problem with employees, full-time employees? Has that, I
                       mean, has been a problem with?

 Mr. Schulty:          We, we have continued to receive requests from full-time staff members about
                       options for, for their children, um, because of their work life balance and trying
                       to figure, figure out daycare and another obstacles they face. Um, the current
                       policy requires them to be full-time within the feeder pattern in which they
                       would like their, their children to attend.

 Mr. Schulty:          So again, another, um, another example would be someone that, that may work
                       at, in the technology department. They're working full-time 40 to 60 hours a
                       week at this point, but because they service multiple buildings, their children do
                       not have the option to attend a building that help their family situation. Um, so
                       again, we would just like to open it up and reco- recognize that our full-time
                       staff, we have working, um, if we can help their family situation by allowing that
                       their children to attend a different location.

 Mr. Schulty:          We think it that at this point we can't accommodate that. We, we are not
                       talking about at this point, opening up the option to families that reside outside
                       of our attendance, um, area, because at this point we're not too sure, um, that
                       our current enrollment and facilities would be able to accommodate that. So
                       that's something that in future years we would like to revisit, but at this point
                       that that is not our recommendation. You're welcome.

 Speaker 2:            Okay. Yeah.

 Speaker 3:            Mr. Schulty so this is, uh, directed to, could you define maybe first full-time
                       employees?

 Mr. Schulty:          Sure. Full-time employee would be anyone who, um, is, is working full-time
                       within their job classification and would be receiving district benefits. So
                       typically you, you would be looked you at like transportation, for example, um,
                       you're guaranteed 25 hours and benefits that would be full-time if, if you're in
                       Chatauqua and you work in full-time both before and aftercare program, that
                       would also make you eligible there. If we have, um, job classifications that are,
                       are posted as, as part-time work, whether it's a two or three, four hour cashier
                       or cook in a building that would not qualify them. Um, so truly we, we're just
                       looking at the full-time employee classification at this point.

 Speaker 3:            Thank you.

 Speaker 2:            All right. Any other questions? So we have a motion and a second to approve
                       the consent agenda at, as amended, all those in favor, say, aye. I aye. Aye. Those


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                       opposed, nay, motion carries. You wanna make sure to refresh so that you get
                       that change of the item that was pulled when we get there. All right. Next up
                       superintendent's reports.

 Speaker 4:            Yes. We have several, uh, superintendents reports for you program evaluation
                       updates, and we will start with the child nutrition program evaluation update.
                       We have both Dr. Mueller and we have Gwen here as well. So thank you for
                       being here, John, anything else you wanna add?

 John:                 Uh, thank you. And before you begin, I would just like to thank both, um, Janelle
                       and Gwen for their outstanding performance leading, um, the child nutrition
                       program. We certainly have had the ups and downs over the past couple years
                       with child nutrition and, and these two have been instrumental in continuing to
                       service, um, our students through the pandemic and pre and post pandemic.

 John:                 They've just done an outstanding job, making sure that, um, wherever we are as
                       a district, we, we have continued to be able to, um, serve, um, meals to our
                       students, both, um, breakfast and lunch, whether it's in neighborhoods or with,
                       within our buildings. So, um, I, I cannot say enough about these two individuals.
                       The district's certainly lucky to have them, and without further ado, I will turn it
                       over to you too.

 Dr. Mueller:          Thank you. And good evening, president Bates, directors, and cabinet. Um,
                       before we begin, we would like to thank our child nutrition staff for working so
                       diligently every day to provide nutritious meals for our students. So thank you.
                       Um, as we work through the presentation tonight, I would like you, like you
                       consider the fact that, um, the previous goals set for child nutrition were set by
                       our former director, director, and Gwen will walk us through those as well as
                       the new goals that we have set for the child nutrition department.

 Gwen:                 Thank you so much. Um, board and members of cabinet for allowing me to stop
                       by tonight and speak about our wonderful child nutrition department. And
                       thank you for the kind words as well. I wanna echo that we have a fabulous staff
                       and they have certainly been through it the last couple of years with the
                       pandemic and they've, um, rosen, they've risen to every challenge and every
                       obstacle that have, that has been put in their way

 Gwen:                 As we begin we'll, um, start with the previous goals. Goal, number one, um,
                       improve achievement for all students. Um, as we look at how our department
                       can approve achievement for all students, we, um, focus on, um, how we can
                       train our staff to meet their needs. So we, what we, uh, have provided
                       nutritional training for all of our staff, we've been, um, fortunate enough to
                       begin working with the teaching and learning department to explore avenues on
                       how we can bridge and collaborate our two departments to improve the
                       educational experience of our students. And we have also, um, taken the time
                       to train all of our cooks in our department, um, on different techniques and



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                       batch cooking in ways that they can improve the quality of the food that we
                       serve to our students.

 Gwen:                 Goal, number two, increased communication, and improve relationships with
                       parents. We understand the importance of, um, letting our community know
                       what's going on in our department. Um, we have, uh, we've kind of been up and
                       down with our communication as far as us providing a ki- a quarterly newsletter,
                       but we, um, do certainly provide all of our updates to the community,
                       community relations department to make sure that those get out to our
                       parents.

 Gwen:                 We have, um, successfully implemented our online, um, menu, which is
                       Nutrislice. This is, um, a great tool and it's a one stop shop for our parents, they
                       can go and view the nutritional information that, um, of the food that we're
                       serving. They can see any updates that we wanna put on there that we need
                       them to know. Uh, they have a link to our online payment system, as well as a
                       link to the free introduced application should they need. And it also, um, gives
                       them the contact information for our office staff, if they need to get a hold of
                       one of us.

 Gwen:                 Uh, goal number three, increased participation and decreased expenses. We
                       have increased participation in both breakfast and lunch across the board. And
                       we'll talk a little bit about that later in our presentation, um, [Oli carte 00:59:29]
                       revenue, uh, we've kind of coped the pandemic has kind of put a stop to that.
                       We weren't able to sell Oli carte during the pandemic, and we are only partially
                       selling it now we are, um, it has been hit with, uh, supply chain disruptions, and
                       so we've been having trouble getting it in.

 Gwen:                 So, uh, we, um, have, we did monitor labor cost, uh, very closely prior to March
                       of 2020 when the pandemic hit. Um, it has been, we had some, we have some
                       obstacles monitoring it during the 2021 school year. And during the end of the
                       March 20- school, 2020 school year. Um, employees were not working, we were
                       still paying them. Um, we had employees working for Chatauqua and we had to,
                       uh, move some of the employees to different locations.

 Gwen:                 So those, um, those factors made it a little bit difficult for us to monitor the
                       labor class costs as closely as we would like. Um, as of this year, August, 2021,
                       we did return to full service. Um, and as we're used to, so we have been able to
                       monitor those costs this year, and we are in line with what we anticipate that
                       they should be.

 Gwen:                 Before we get into, uh, the, uh, goals going forward. We just wanna give you a
                       quick snapshot of where we're at this school year. The USDAs uh, implemented
                       multiple waivers in order for us to be able to function and serve the students as
                       best as we, as best that we, you can. There have been, um, the pandemic has
                       caused disruptions with virtual learning and the, some of the regulations that
                       we're supposed to follow were unable to follow because of the pandemic. So all


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                       of these waivers that are on the slide, we have opted into those this year and
                       they are, um, helping us to be able to continue with the service that we're, um,
                       that our students expect and that they deserve.

 Gwen:                 One of the waivers that we really wanna highlight to you this year is called the
                       seamless summer option, otherwise known as SSO and what this is, it's a USDA
                       program that as the name implies, is typically only operated in the summertime.
                       And more- and furthermore it's typically, um, districts are usually, um, eligible
                       for this by meeting a certain free, reduced percentage to threshold. So we do
                       not meet that threshold, and we've not been able to operate seamless summer
                       option before.

 Gwen:                 Um, nor when this waiver is in, will we be able to rate it then? But what this,
                       what this allows us to do is to operate is to offer free meals for all students
                       breakfast and lunch in the school district. We have seen a marked increase, and
                       this is why we've seen such an increase in our meal participation, both breakfast
                       and lunch. We're very happy to be able to provide this for our district. And it will
                       last through the end of the school year.

 Gwen:                 We've seen a lo- we have been impacted by the supply chain. Um, we've had
                       canceled orders, we've had delayed orders. We've had, um, multiple product
                       changes throughout the year. So we've been working through that this year. Our
                       staff has done a fantastic job of just going with the punches and seeing what
                       they get every week on that delivery track, but we've, um, so we've had, had to
                       make adjustments daily or weekly on the menu, but, um, we've been fortunate.
                       Thanks, than- thank you to the board for allowing us to go outside some of the
                       procurement, um, regulations and allow us to get some food in here. So our
                       students have not seen, uh, too much, they have not noticed that impact of the
                       supply chain disruption. So we've been fortunate there.

 Gwen:                 This is just a snapshot of our profit and loss through November. Our goal as a
                       department is to remain cost neutral. And we wanted to give you, uh, a look at
                       this is what this is our breakfast total count from August through December.
                       And it goes back to 2015, '16, that last, that last bar and that slide you can see is
                       this year, and that is due to the seamless summer option.

 Gwen:                 And the next slide would be our lunch count totals back to '15, '16, August
                       through December. And you can see that last slide. There's also an increase also
                       due to seamless summer option. And this last slide, um, you can see here is a
                       total breakfast in lunch. Total meal served August through December dating
                       back to 2015, '16, which with the last slide being this year.

 Gwen:                 All right, moving forward, um, to our updated goals. The first goal is, um, under
                       teaching and learning. And we wanna be able to provide high quality and focus
                       professional learning for all of our staff. We have annually every year, uh, back
                       to school orientation meeting for all our staff, where we provide them with
                       updated regulations, both federal and state. We provide them with nutritional


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                       information. We will provide them with... We'll make sure that they're aware of
                       all the meal components and all the nutritional guidelines and everything that
                       they have to follow.

 Gwen:                 We also, um, I wanna make sure that all of our staff is of to date on their food
                       safety and the food safety practices. We will require or we require all of our
                       managers and our cooks, as well as myself and our assistant director to be serve
                       safe certified. Our goal is to make sure that we reach that with 100% with all of
                       those required, um, employees.

 Gwen:                 And then we also wanna make sure that our staff is giving the highest quality
                       customer service to our students, who we consider our customers. So we
                       provide customer service training to them as well. And we talk to them about
                       confidentiality as far as student accounts and student information and free
                       energy data.

 Gwen:                 Rule number two, we, um, as I, as stated earlier, we understand the importance
                       of maintaining open and consistent communication with our community. So we,
                       we do that, um, by utilizing the wonderful community relations department and
                       making sure that they get all of our updates and any information that we need
                       to get out to the parents in a timely fashion. We do have a Twitter account and
                       our following, um, increases every week, which I'm proud to say. And then, um,
                       we will continue to make sure that our Nutrislice online menu system is up to
                       date and current and has all of the information that our parents need.

 Gwen:                 And finally, our last school facilities and finance, we wanna, our department is
                       absolutely dedicated to making sure that we are good stewards of district
                       finances. Our goal is to put forth and maintain a ma- balanced budget every
                       year, as you know, we've had struggle with staffing the, this year. So we will
                       continue to work with the HR department and explore all avenues for
                       maintaining, attracting and maintaining staff we've, um, worked with, um,
                       Indeed, ZipRecruiter, St. Charles county... St. Charles community college, their
                       job board we've, um, had job fairs that we've been successful with, with the HR
                       department.

 Gwen:                 And we're very grateful for that. And, uh, and we will continue to advertise on
                       Facebook and Twitter and all of those use all of the avenues that we can to
                       make sure that we're attracting, uh, employees and, and retaining them. Thank
                       you so much again, for your continued support, we couldn't do what we do
                       every day for our students without you. Um, and do you have any questions for
                       us? Mm-hmm (affirmative).

 Sandy Garber:         I know that earlier there was the issue of not being able to get our food orders.

 Gwen:                 Mm-hmm (affirmative).

 Sandy Garber:         And are you seeing, um...


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                                     PART 2 OF 6 ENDS [01:08:04]

 Sandy Garber:         Our food orders. And are you seeing, um, are you primarily reaching out to
                       more than one supplier at this time? And are you seeing then at that point, are
                       you seeing the supply chain getting any better?

 Betsy Bates:          To answer your question? Yes, We have reached out to multiple suppliers. I
                       have two main suppliers for groceries and, um, then I have a few for paper
                       products as well, and we've had, um, actually I have three suppliers for
                       groceries. I ha- I don't... Apologize. So we have been reaching out to multiple
                       sources, multiple sources have, have been reaching out to us as well.

 Sandy Garber:         Mmm.

 Betsy Bates:          Um, the, the school food service community is really kind of pulled together and
                       we're helping each other along as we can. As far as the supply chain getting
                       better. We, and I would like to say that I have been able to secure enough food
                       to make sure that we're not gonna be, that we will not be affected by this
                       supply chain. So we're sitting... We're in good shape there. Um, as far as a
                       supply chain, what we're hearing from industry is that, um, we just need to sit
                       back and we're gonna be going through this for a while, but we're pulling
                       together and we're using each other as resources to get what we need for our
                       kids.

 Sandy Garber:         Thank you.

 Betsy Bates:          You're welcome.

 Sandy Garber:         I have a comment slash just information for the board. You know, when we
                       attended the MSBA conference in November, we had the opportunity to meet
                       with a lot of vendors at service, you know, school communities. And I ended up
                       talking with a few, um, food service vendors, and I know we've had this
                       discussion in the past and it was, you know, we wanted to make sure we were
                       able to retain our own, our own staff in house. And that was a reason we didn't
                       want to look at doing that. Um, and in speaking with them, it sounds like they
                       have many different op- options where we can retain our own staff. Some of
                       their staff, some of our staff, um, sounds like they are higher in the, you know,
                       supply chain. And so they're able to access, um, some, vendors that we aren't
                       able to access. Is there any interest, or I guess what would be our concern in
                       potentially doing a feasibility study with, you know, one or more of these
                       vendors to see if bringing them in could benefit us, right? Be a staffing, be a
                       supply chain issues. Um, you know, are we at a point that it, it would be worth
                       looking into?

 Dale Schaper:         If it's the will, will of the Board to look into it, we can, we have in the past, um,
                       with, with the pandemic and everything that we've been through in the last two
                       years, um, we've also kind of been following, um, districts that, that have, um,


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                       other agencies come in and, um, as every other workforce, they're short on staff
                       and they are short on supply. So, um, we right now have, have the benefit of
                       Gwen and her staff and all the connections that they have to where even
                       though our major distributor is canceling large districts all over the state, um,
                       they... They're dedicated to Wentzville and they're, they're continuing to work
                       with Gwen and her staff. But, um, if, if you want us to go out and look at that we
                       can, um, but what we are seeing and what we're hearing from other people is
                       that they are facing the same challenges that, that we, we are facing.

 Dale Schaper:         Um, we are a large district and we are a large vendor, um, for a lot of the folks
                       that, that we work with. So whenever Gwen talks about, um, people reaching
                       out to us, you know, there's companies out there that are truly looking at this as
                       an opportunity for them to, to make a profit as well. So, um, like, like Gwen has,
                       has indicated, we, we, we do not have a problem right now getting their
                       product. And, um, that was an issue at the beginning of this, but all the other
                       companies were having the same issues as well. So it, it's true up to, to you. Um,
                       I feel as though with Gwen and, and her staff, we are in a very good place.
                       We're, we're in as good of a place as I feel we would be if we looked at, at
                       another company coming in and trying to provide, um, the same service
                       because those companies too, they, they have to pull, um, employees and
                       typically they're pulling employees from the communities in which that district
                       is, is serving as well. So I think right now we have a pretty good handle on it.
                       Um, but you know, we're open to whatever the will of the Board is.

 Sandy Garber:         Yeah. And, and I would echo to the will of the Board. I just thought, you know,
                       as an option, you know, just as feasibility study, it could be worth exploring. But,
                       yeah.

 Dale Schaper:         One last item that I would, um, like to elaborate on is if, if you all decide that,
                       that's the direction that you would like to go, or at least investigate, I think we
                       also need to have a discussion about, um, capacity and the timing of that study
                       right now. Um, Gwen and her staff on a daily basis are serving meals in
                       buildings. And so, um, they're putting in all of the extra hours to make this work.
                       And so if that's the direction of the Board, I think we do need to be aware that
                       there's probably, um, a better time to look at that once, once we, we get our
                       legs back underneath us.

 Sandy Garber:         I think that's fair. Yeah. [crosstalk 01:13:20]

 John:                 Just real quick. Um, you, you talk about stay staffing and being able to make
                       through. Can, do you have a sense maybe on average for the year, the first
                       semester, what, what's been our vacancy on the 127 or so, um, employees in
                       terms of, you know, what, what seats we don't have filled throughout the year?

 Betsy Bates:          It's pretty, it's pretty spread out across the buildings. So, which has helped us
                       because that means that we've been able to plug the holes easier. The vacancies
                       are, are fairly, I would say of the vacancies that we have, they're pretty spread


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                       out about the, uh, out evenly across the, the district. So we've been able to
                       where we're full at, we've been able to move employees around and, you know,
                       put people where we need to put 'em.

 John:                 OKay. Thank you.

 Dale Schaper:         Uh, president Betsy, I mean, to your, to your question, maybe request, I, I would
                       support that. I think that the point that, um, John made a round timing, if it's in
                       the summertime, as we head into next year, we know more or about, you know,
                       the pandemic where we're at, what we're gonna do with free lunches or not.
                       Maybe that's the right time to do that. If other Board members agree, I'm open
                       to, you know, looking at flexibility and giving ourselves options, whether it's fully
                       outsource mix, whatever that is. I think just, just testing those waters may make
                       sense. So...

 Jason Goodson:        President Petsy, if I could, please.

 Betsy Bates:          Absolutely.

 Jason Goodson:        And I guess I'm gonna kind of, uh, go in support. I'm afraid if, uh, if we start
                       looking in food service and when do we start looking in transportation, when we
                       start looking in custodial and I think what we need to gear ourself to, uh, for our
                       support departments that we have in the school is making sure that they're
                       running properly and far as food service that we're giving, uh, consumer our
                       students is the choices that they need to help drive the department. And, and I
                       hate to see us go to outside third vendors, cause I'm afraid we might get caught
                       in a trap. And that's where we'll go down the road through other departments.
                       So thank you very much.

 Betsy Bates:          Any other questions or comments?

 Daniel Brice:         Just kind of, um, feeding off of what secretary Schaper shared. Um, the last time
                       we met with, with vendors, the, just so we're in full transparency here. The, um,
                       the marketing plan that, that they shared with us is that they would utilize our
                       staff members, um, but then through attrition and through other options, they
                       would take over all of the staffing. So, um, when, when we, we decided in the
                       past that that wasn't their, the direction that we wanted this district to go, it
                       was based on the fact that we wanted to try to protect the, the employees and
                       the jobs that we currently have within the district.

 Betsy Bates:          Up next teaching and learning and technology.

 Dale Schaper:         Yes, Dr. Curtis will introduce the, um, teaching and learning department reps.
                       And there are quite a few that will be, uh, aiding in this program, evaluation
                       update.




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 Carrie:               Good evening. We're gonna get settled here. Uh, the teaching and learning
                       department is here to share with you our teaching and learning and pro our, uh,
                       technology program evaluation. Um, we are excited to share with you the, um,
                       the work that we have done over the past year and the year of 2020, 2021. Um,
                       the teaching and learning department is proud to serve the teachers and the
                       administrators, and most of all the students, other Wentzville School District,
                       every single day. Um, the work that we do is truly all about them all the time.
                       And, um, I have said for years, um, I've worked in the, uh, curriculum
                       department, teaching and learning department for 15 years, uh, that I have job
                       in the district, um, because we are always focused on student learning always,
                       always, always. And, um, it's always exciting to be talking about instruction, um,
                       and, uh, student growth and, um, their academic achievement and, um, all the
                       other areas that we focus on when we think about the whole child.

 Carrie:               Before we start, I just wanna introduce to you the, um, staff that's here. This is
                       our leadership team. Um, so to my left, the first person there is, uh, Mr. Greg
                       Lawrence, he is our director of technology. I know you're familiar with him. Uh,
                       we have the Ms. Sherry Bertran. She is our director of assessment. And she
                       spoke with you last month, uh, with our assessment update. Next to her, we
                       have Priscilla Frost, she is our director of secondary learning. And then I'm
                       assuming down there on the end, there we go. Is, uh, Erin Gaby. She is our
                       director of elementary learning. Okay. So, uh, we wanted to start with a quote
                       that we think embodies the work that is done, um, in the Westville school
                       district every single day. Um, all the data in the world cannot accurately
                       measure the love and heartbreak that goes into a single day of teaching children
                       whose needs go far beyond the curriculum.

 Carrie:               Uh, the portrait of a learner really embodies all of the elements that we believe
                       are essential for students. We believe in the Wentville school district that when
                       they graduate, they should have skill in all of those areas. And, uh, so we're
                       gonna talk a little bit today about, um, the successes of the teaching and
                       learning department, which really we see through, um, the successes of our
                       teachers. Um, but it's, it's beyond academic growth. Really, we are looking for,
                       um, growth and success in all of the areas that are embodied within that
                       portrait of WSD learner. Uh, these are our goals from last year. Um, as you can
                       see, uh, we met the goals last year. Um, we, uh, I'm gonna tell you a little bit
                       more about those in just a moment, but, uh, we were pretty proud that amidst
                       all the other work that we were doing, uh, we were still able to focus on
                       achieving the goals that we had established for ourselves for that school year.

 Carrie:               Um, while we haven't met those goals, uh, the work and the scope, the scope of
                       the work that the teaching and learning department engaged in goes far beyond
                       that. And I just wanna share with you, um, some information about the work
                       that we actually engaged in last year. Uh, if I could describe the work that we
                       were doing last year with one word, I would say that it's responsive. Uh, we
                       were continuously responding to the needs of the school district, uh, was, as we
                       were moving through the month of July, there was no such thing as the WSD


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                       virtual academy. And we had not yet started focusing on developing leveled
                       plans to support teachers as they entered the 2020, 2021 school year. We had,
                       uh, at that time we were planning for a fully in person, new teacher orientation.
                       And, um, as we moved toward the end of July, uh, and we were looking into
                       August, uh, it be came apparent that we were going to make some changes.

 Carrie:               So we quickly, uh, began to shift to a fully virtual due teacher orientation, which
                       as our teachers can attest to is, uh, not an easy task to do very quickly at the last
                       minute. Uh, when you're trying to ensure that there is engagement, that there
                       are activities, um, that you have planned, uh, and then replicate them in a
                       virtual environment is, is not, is not easy. So as we were doing that, uh, we also
                       began, uh, planning for the Westville virtual academy. Uh, we identified three,
                       uh, staff members within our department, two content leaders and one
                       instructional technology coach who we dedicated to the development and then,
                       uh, the support for the entire year of the virtual academy. Um, so as of August
                       1st, it did not exist. And by the time we opened our doors to students on August
                       24th, we had a fully functional operational virtual learning option for over 3000
                       students in the Westville school district.

 Carrie:               And when many other districts were delaying their start of school date to help
                       them, uh, develop their virtual plans, uh, we were able to, um, to come together
                       and get it done by the opening of the school year. Um, again, as of August 1st,
                       we had over a hundred teachers who did not yet know that they would be, um,
                       given the exciting opportunity to engage in virtual instruction. Um, so between,
                       um, August 1st and August 24th, the, uh, teaching and learning department
                       worked hard to, um, provide resources. Um, and, um, as much professional
                       learning as we possibly could said that those teachers were ready to, um, meet
                       the needs of their students online every single day.

 Carrie:               During all of that we were engaged in developing meticulous plans to help
                       support teachers as they open the, the school year. We knew that there was a
                       possibility that we could move from in-person learning to virtual at any point
                       during the school year. Um, what we did not know is that we would probably be
                       opening hybrid. Uh, so we were really focused on a fully in-person option and a
                       fully virtual option. And we weren't quite sure about that hybrid. And then we
                       made that decision to do that. We poured ourselves into developing those plans
                       as well. Um, we were talking about meticulous plans. So the, the plans that we
                       were developing, we're providing support for communication, how to, um,
                       manage instruction when we're talking about distancing stu- students. Um,
                       when we shift from using communal, um, supplies to, uh, to, to now having to
                       individualize, as we really were trying to provide as much information to
                       teachers as possible. Um, so they didn't have to try to figure out how to manage
                       all the details on their own.

 Carrie:               So for the month of August, uh, in 2020, uh, we were pretty busy. (laughs) The,
                       uh, technology department also identified one technician, um, to dedicate to
                       the virtual academy and that person served all of the students, um, and, and


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                       their needs, uh, for, with technology, whether that was, um, like the device
                       based, it wasn't working or something had broken, um, or whether they were
                       having, uh, connectivity issues. Um, we had a dedicated, um, technician to that
                       program as well. So as you know, throughout the school year, then, uh, the
                       teaching and learning department, um, had the opportunity to, um, return to
                       the classroom and provide instruction, um, in a variety of, um, situations we, uh,
                       spent, um, several, uh, days subbing in classrooms. Um, in addition, we have
                       staff members who, um, also provided, um, long term substitute, um, services
                       for our, uh, teachers. Um, we, these pictures here, um, capture, um, one of our
                       staff members was, um, a virtual teacher for, um, uh, several days. Um, and
                       then the other pictures there, um, show our staff, providing professional
                       learning and collaborating with teachers to prov- provide them with support
                       throughout the year.

 Carrie:               We really had to shift our thinking, um, and how we, we provide support for
                       teachers. Uh, and, um, I'm so proud of the, the work that our staff did during
                       that time, um, throughout the school year, um, teachers collaborated, uh, with
                       our, with our staff for technology support, for support with, um, their learning
                       management systems for lesson support. Um, and again, uh, we spend a lot of
                       time, um, providing substitute services in classrooms.

 Carrie:               Okay, that brings me to our proposed goals for this coming or for the current
                       year that we are in right now. You'll see that we have eight goals. Um, I'm not
                       gonna read all of them out loud, they were in the packet. Uh, but I, I would like
                       to comment on, um, one goal in particular. So our first goal there, um, is about,
                       um, academic achievement and how we will measure academic achievement.
                       And this goal might look a little different than what you've seen in the past. So
                       in the past we have, um, provided a goal that looks at, um, an improvement in
                       MPI, which is, um, the measurement that we use for map. Um, as you heard last
                       month during the assessment update, um, the, uh, state assessments have
                       been, um, somewhat in turmoil over the last several years. Um, we've had
                       interruptions in, um, in the testing. We've had changes to the tests. Um, we've
                       had, um, instant where we have not received data. And so, um, while that goal
                       continues to be very important to us, map performance continues to be
                       incredibly important to us, so we will continue to monitor it.

 Carrie:               We believe that looking at our internal assessments, um, and looking at how
                       students are growing on those will help us to better serve students to overall. So
                       what we are looking at now for our first goal here is using our benchmark
                       assessments, um, and establishing ba- a baseline measurement this year to help
                       us then set goals for, um, for our individual students, our, uh, classrooms and
                       our buildings to help ensure student growth. Um, our director of assessment,
                       Sherry will be sharing with you, um, a little bit more information on quadrants,
                       but I wanna just give you an overview of what, what we are, um, looking at as a
                       tool to use to guide this for us.




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 Carrie:               So when we talk about student growth, it falls into four quadrants. There is high
                       performing and high growth. There's low performing and high growth. There is
                       low perform, low growth and high performing, low growth. And ideally our
                       students would be hanging out in quadrants one and two, because we wanna
                       see high growth all the time. So even students who struggle, so they may be low
                       performing. We still wanna see that we have high growth. This tool is going to
                       allow us to look at every single individual student and ensure that we moving
                       them forward. So the baseline measurement that we are establishing this year
                       will help us to set goals for what the growth should look like year after year.

 Carrie:               And I just wanna reiterate, that does not mean that we are disregarding the
                       map data. That's still really important to us. So we not on it right now. All right
                       so now I'm gonna turn it over to Sherry Bertran.

 Sherry Bertran:       Good evening. So I, I am going to present the district assessment plan and the
                       assessment plan basically supports the teaching learning goals one, two and
                       three. This one? [inaudible 01:28:05] Okay. So I'm opening mind with a quote as
                       well, that the most important things in life are sometimes the hardest things to
                       measure. And I think we need to remember that as much as I bring charts and
                       graphs and I love data. Um, that's something that's really important that we
                       need to remember. Hey, okay, I'm not good at this. Okay, the assessment action
                       plan, basically the thing with the, with the assessment plan is we wanna make
                       sure our data and our response to the data is timely. We wanna make sure that
                       our assessments are high quality that they're efficient so that we don't have to
                       test all day, that we get the information quick so we can move quickly. They're
                       fair and equitable to all students. And that they're, they're tied to improving
                       learning. That is the most important thing. Just to assess, to assess is it does
                       nothing. It has to improve the learning.

 Sherry Bertran:       Okay, I'm gonna do, I'm gonna take you through something really quickly and
                       flatter me if you don't mind. So take a moment, I know we really wish we were
                       all here right now in this beautiful pool right now, it's freezing outside. So take a
                       look at this beautiful pool. And just for a minute, if you don't mind flattering me,
                       close your eyes and picture yourself at this relaxing pool, the sun is shiny, bright.
                       The weather's absolutely perfect. You have a nice cold beverage of your choice
                       and that you're enjoying everything about the moment is perfect. Then you're
                       splashed with freezing cold water and you kind of get startled and you're like,
                       "Oh, someone must have just jumped in." So your, your eyes stay closed and
                       you're still relaxing. And then the splashing doesn't stop. It keeps going, it keeps
                       going and keeps going. And as it keeps going, you get irritated and frustrated.
                       And you open your eyes and you turn around and you see that someone is
                       struggling, mildly. Does your approach how you would approach them change?
                       Of course it does.

 Sherry Bertran:       I say that to say, how many times do we walk past students or teachers who are
                       struggling mildly, but we don't know because it's not, as, it's not as easy to see
                       as it is in the pool. It's amazing how much a positive attitude or a smile can hide.


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                       We can do teacher check-ins give classroom assessment, assessments and it
                       appears that everything's okay, but how do we know really, really know what
                       the class, that... What the classroom is doing, that what the classroom teacher is
                       doing is having a positive impact and growing each and every student. To know
                       this, we have to change our approach and how we look at data and what data
                       we look at. So with that being said, I'm going to continue with what Carrie had
                       started.

 Sherry Bertran:       So this visual is for you to see what we're talking about. So quadrant one is the
                       high performance, high growth. Quadrant two, these are low performance, high
                       growth. And as, as Dr. Curtis said, even some of our students who maybe not be
                       performing, you know, proficient or advanced, we still want them to grow. We
                       want all students to grow. So that's still a positive. Then we have the, the, the
                       two quadrants that we really wanna move students out of. The third one is low
                       performance, low growth. And the fourth one is high performance, low growth,
                       that really is the lucky quadrant, right? So if we only look at MPI and look at end
                       of the year data that you know, for, for all students, it doesn't necessarily tell
                       you that a student has grown. There's no state report that tells us how much a
                       student has grown. We can say they were proficient and they're proficient
                       again, but it doesn't tell us that the teacher had any impact on growing that
                       student. And by us looking at quadrants, it, it, it enables us to, it enables us to
                       do that.

 Sherry Bertran:       So this is what an example may look for charting students with i-Ready is, again,
                       you can look at where the quadrants are at. So sometimes those in the far,
                       right, um, on the bottom and quadrant four, those students may surprise
                       teachers like, "Whoa, I thought Greg was alr- always doing great. He's, you
                       know, always getting eighties and nineties, but if he's really not growing, then I
                       need to do, I need to change my approach in how I'm teaching him," but the
                       NPI, if he's proficient and stays proficient, the NPI doesn't change, but moving
                       kids outta quadrant three and four does change. It will have a big impact at the
                       end. So basically with quadrants for students, it enables students to set at goals
                       and monitor their progress. That's one of the highest, um, research base that
                       says that, that's where they're gonna have the biggest growth is when they are
                       able to set goals and monitor it.

 Sherry Bertran:       It gives students opportunities to celebrate success and it creates a bridge from
                       their day to day learning, and the assessments. For teachers, it highlights their
                       ear areas of strengths. It helps identify areas where teachers may need some
                       additional coaching and it provides data that helps teachers reflect, and it also
                       provides timely data so instruction can be adjusted. And the biggest thing is it
                       creates accountability for everyone, for our students, for our teachers, for our
                       administrators and for us as a teaching learning department. For you as a board
                       and the cabinet, it's, it's for everyone, I'm gonna turn Off.

 Sherry Bertran:       So those are with quadrants. The last thing I'm gonna skip to really quickly or
                       not last I lied, um, is Illuminate that is one of our biggest assesses to in the


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                       assessment department. This is our second year for using the program
                       Illuminate and it is incredible. This program helps educators assess learning and
                       identify students needs and able to adjust, um, instruction as needed. There are
                       a few quotes from teachers from, um, who, who are into Illuminate now that
                       they say like, "Finally, there's a program that actually gives me back time. This
                       program helps me see the full pay of the student." And my favorite one is that
                       this program better not go anywhere, I don't know what I would do without it.
                       So it's something that is helping, um, our teachers a lot.

 Sherry Bertran:       And last, most of this data you have seen already in my previous presentation,
                       the one I wanna highlight is, um, were quadrant four would be, which is our Seal
                       of Biliteracy. Um, in 2020, we had 51 students earn the Seal of Biliteracy, which
                       is, it's a amazing feat. Um, and in 2021, we had 64 students earn the Seal of
                       Biliteracy. That is something that goes on their transcript that says that they are
                       truly bilingual, which will help them in their, in their future. And then again,
                       some of this data you have seen, but the thing I really wanna highlight here, and
                       this is really kudos to our school counselors, our school teachers, our
                       administrators is in 2021 we had 22... Over 22 million dollars in scholarships. 22
                       million dollars in scholarships, that tells you that something is working. So with
                       that I give it away.

 Dr. Curtis Cain:      Good evening. And thank you for the opportunity to share an update on the
                       technology department here in the Wentzville School District. I'd like to begin,
                       uh, just sharing about our department. Uh, the technology team is made up of,
                       uh, 27 individuals. And, uh, those, uh, 27, um, are very passionate, they're
                       dedicated, um, and work incredibly hard to support the faculty, the staff, the
                       student and the families, um, within the, uh, Wentzville School District. And, uh,
                       last year as Dr. Scooters was sharing, um, you know, as we introduced, um,
                       hybrid and virtual learning, um, the support for, uh, technology, um, especially
                       in the homes, um, for connecting students online, uh, getting them connected,
                       uh, through canvas and classroom, uh, really showed the importance, um, of
                       what a team is. And I'm very, uh, excited about, um, what our team has been
                       able to accomplish, um, with, uh, supporting families and, um, students and
                       teachers in the district.

 Dr. Curtis Cain:      Uh, last, our, uh, last year we had a couple of goals, um, was great, is, uh, all
                       those goals were met. Uh, the first one here, um, is that, uh, we research and
                       develop and implement, uh, a one to one access initiative for all students. Uh,
                       we have been one to one, um, 9th through 12th grade, um, for a little over, uh, I
                       would say almost, uh, 10 years, um, for middle school. This has been, um,
                       probably about three to four years. And then, uh, sixth grade was last year and,
                       uh, uh, through some planning research, um, we, um, are excited that this year
                       we were able to provide one-to-one, um, access for all of our students with
                       inside the Wentzville School District.

 Dr. Curtis Cain:      Uh, we also had another goal to, um, provide a, uh, single sign on system, which
                       is basically to allow our systems and our students to have easy access into the


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                       digital resources. Um, so we, uh, implemented a re- uh, resource last year called
                       Class Link and, uh, Class Link allowed our students to have one easy access and
                       same with our parents, one easy access and staff, um, to access those digital
                       resources. Additionally, uh, professional develop, um, was provided to faculty
                       and staff, um, and that was done through the technology team. It was also
                       provided, uh, through our teaching and learning team, uh, supporting all the
                       needs, um, especially last year as we navigated, um, you know, being in person
                       to virtual, um, and even hybrid, um, through that. Um, and, uh, that importance
                       of what, uh, good instruction looks like through technology was incredibly
                       important. Um, as many of our teachers have, uh, really had not had the
                       opportunity to even teach through a video conferencing system and, uh, we're
                       then coming to, um, our students via webcam. So the, uh, the importance
                       behind that, um, was really there. And, um, our, uh, our team really, uh,
                       provided that, uh, professional learning for our staff.

 Dr. Curtis Cain:      Additionally, um, based on, uh, our CSIP goals, one and two, we had another
                       one, uh, another, uh, goal that we had, um, which is the teaching and learning
                       teams will research develop and implement, uh, digital wellbeing resources for
                       students families and faculty, and staff. Um, last year, um, with, uh, the waters
                       that we were navigating and, uh, we, uh, had to put some of that on hold, um,
                       just because of, uh, being able to bring all, um, um, members of that cohort
                       together. Um, but I am excited to share that, um, as part of that, we were able
                       to, uh, develop some resources last year for our students and, um, classrooms,
                       uh, related to digital wellbeing. So I am gonna, uh, show just a little clip of a, uh,
                       that was created. Um, it's a series, um, that is based on this goal, um, on digital
                       wellbeing. Um, and it's called the question project. And each episode is based
                       on a question on how we can improve our wellbeing. So I'm gonna show just a
                       little clip of, uh, one of the, uh, episodes.

 Amanda:               Hi there, I'm Amanda and I have a question for you. Why should you be your
                       best self online? Throughout the week, you are likely online more than you
                       think, you're chatting in a Google breakout room, you're posting on classroom
                       or Canvas. You're collaborating on a doc, messaging on a chat, sending an email,
                       posting on social media, maybe even trying to create the latest TikTok dance
                       praise. (laughs)

 Amanda:               Staying positive in online spaces takes work. It takes awareness, perhaps even
                       more than in person, be you, be genuine, but be the you that fills others up.
                       Here are some tips for you. Before posting, pause and ask yourself these
                       questions. Am I posting out of anger or frustration? Could what I say, be
                       misinterpreted? Am I showing a bad side of myself? Who might view or see
                       what I'm posting? Am I oversharing like information that should remain private?
                       The bottom line is post smart. This week, I challenge you to review some of your
                       latest online posts and discussions. Were you being your best self? until we see
                       you again, stay happy, healthy and awesome.




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 Dr. Curtis Cain:      So that was just one episode that was created and, uh, they all end with, um, a
                       set of questions, um, for classroom discussion. Um, and we found a lot of dis-
                       um, success in that and we're excited. Um, they're actually beginning to shoot
                       their next season now. So, um, we're pretty excited about that and all from,
                       from that goal. So this school year, we have a couple of, uh, proposed goals that
                       we'll be following, uh, through on here, um, continuing to, um, provide, um,
                       support, um, for our learning management systems that we have, um, with our
                       students. So providing, um, support with, um, our CSAW Google classroom and,
                       uh, Canvas for our staff and, uh, showing how to use those resources and
                       provide, um, uh, good positive instruction that way.

 Dr. Curtis Cain:      Uh, additionally, um, providing professional learning, um, with, um, regards to,
                       um, best practices regarding one to one, um, environment and teaching and
                       learning, um, and engagement and technology integration. And, um, uh, one of
                       the goals that you saw from last year is carrying on this year, um, and that is to,
                       uh, convene the, uh, teaching and learning and technology teams to develop,
                       um, and, uh, research and implement our digital wellbeings for, uh, families, uh,
                       students and faculty and staff. Um, we were gonna continue to see that goal,
                       um, there. Additionally, um, we were going to implement, um, and, uh, develop,
                       uh, cybersecurity program based on assessment, best practices, industry
                       standard and guidelines, um, regarding, um, um, techno-

                                     PART 3 OF 6 ENDS [01:42:04]

 Speaker 5:            ... and guidelines, um, regarding, um, um, technology resources. Um, and then
                       once again, there's a repeat of that goal, um, just because of the CSIP, um, goals
                       of one and, um, two there. I would like to share, uh, just a couple of success,
                       sussex- man, I cannot say that. Um, successes there, um, within the technology
                       department. Um, as we were able to share at the beginning, the expansion of
                       the one to one initiative, um, for all grade levels, K through 12. Um, last year we
                       were able to provide, um, hotspots for families and continue to provide
                       hotspots for families, uh, and students, um, needing, uh, digital access, um,
                       away from, uh, away from school. Um, and what's exciting about that is all of
                       that is, uh, a hundred percent, uh, fully funded, uh, through the Missouri
                       Student Connectivity Access Grant and Emergency Connectivity Fund, um, for
                       that.

 Speaker 5:            Um, additionally, um, we are a member of, uh, the Student Privacy Alliance, uh,
                       for Missouri. We're actually part of the leadership team. Um, what's exciting
                       about this is, um, our, um, instructional tech team has, uh, worked incredibly
                       hard, um, with vendors to ensure that our students are safe, um, when, uh, uti-
                       utilizing, uh, these resources and, um, the technology department. And I would
                       say, the Wentzville School District is the originator of, uh, 41 out of the 57 state,
                       um, data privacy agreements that have been, um, created for the state. Um, so
                       our team has worked really hard, um, to provide that for the, our district and
                       our students, but also, uh, providing that for other districts across the state of
                       Missouri.


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 Speaker 5:            Additionally, um, we have, uh, our offering this year, the sixth annual WSD film
                       festival. This is our sixth year of doing this. Um, and this is all made possible by,
                       uh, the WSD Foundation, um, grant and being able to provide, um, this
                       opportunity for our students to show their creative side, uh, related to video.
                       And, uh, this is open and, uh, for all, uh, grade levels. If you've not been or
                       watch the videos, it is purely amazing to see, um, what our students are
                       passionate about and see that outplay on, uh, on TV and, uh, on the videos that
                       they create through this film festival.

 Speaker 5:            I've also been doing this for a couple years, um, as I end, uh, our time, um, for
                       the technology, um, portion of, uh, our program review, and that is called fun
                       with numbers. Um, and I'd like to just share a couple of fun, uh, numbers, uh,
                       here. Um, the, uh, technology department, uh, uh, completed 9,000 over 9,000
                       work orders, uh, in comparison to 6,000 work orders that was the year before.
                       There is almost a 3000, uh, work order increase, um, and that's because, um, of
                       our, um, being, uh, hybrid and, um, digital last year. Um, so we had many of our
                       families able to submit work orders in our work order system. Um, so you'll see,
                       um, an increased number of that because of, um, the support that we are able
                       to offer to every, uh, family within the district.

 Speaker 5:            Um, we have over 17,000 students, um, in the district, which means we have
                       over 17,000 devices in our district, um, supporting, um, our students, um, and
                       their, and their needs within, inside the classroom to provide, uh, creative, um,
                       out- outcomes and creative, uh, opportunities for our students. Um, the
                       technology department has over 271 years of experience within the district. If
                       you wanna talk about a dedicated team within the district, is the technology
                       team who has, um, been here for many years, um, and, uh, is very passionate,
                       very dedicated and works incredibly hard, um, with, uh, supporting our, uh,
                       families and our students and, uh, staff.

 Speaker 5:            And the last one is, we've had over 500 teachers participate in technology,
                       professional learning. Um, and, um, what is interesting about those numbers is
                       that is all, um, on their personal time that they are coming over summer
                       because they wanna better themselves as a, um, as an educator, and they
                       wanna, um, provide ama- amazing opportunities for our students. And with
                       that, thank you very much.

 Speaker 6:            [inaudible 01:46:05] Can I ask a question or do you want me to wait till the
                       other one? What's the preference?

 Speaker 7:            [crosstalk 01:46:11] I'm there? Are you finished? (laughs)

 Speaker 6:            Sorry. Um, Greg, I, I know I agreed to participate in the RRP process that we're
                       going through, which was tied to the CSIP goal, specifically on cybersecurity and
                       other things. Maybe it'd be helpful for the rest of the board to understand, kind
                       of, where we're at in that process and timing, you know, from your eyes, et
                       cetera.


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 Speaker 5:            Absolutely. So, um, as that goal was shared, um, that's a goal for this year and
                       we are, uh, very much in the, in the midst of that goal. Um, we had an RRP, uh,
                       released, um, last month or the month before. It's been about six, um, or so
                       weeks, um, all submissions have been submitted. Uh, we are now, have a
                       committee that is going through, um, the RRP submissions and, uh, reviewing
                       those. And, um, in a couple weeks we're gonna have presentations to follow
                       that, to, uh, limit those, uh, vendors down for the, uh, for that RRP and then
                       hope to have a recommendation to the board in February based on, um, that
                       committee and, uh, based on, um, the information that's provided from that.

 Speaker 7:            Other questions, comments for the team?

 Speaker 8:            I have one question.

 Speaker 7:            Mm-hmm (affirmative).

 Speaker 8:            During the, um, COVID episodes when we were then going into virtual and such
                       like that. We were short of devices to Chromebooks. Um, I, if I heard you
                       correctly, um, we have a device for each student, or is it now a device, for
                       example, if there's three children in a family, is it one device to a family?

 Speaker 5:            It is a-

 Speaker 8:            Or is it to each student?

 Speaker 5:            It is to each student.

 Speaker 8:            Each student.

 Speaker 5:            So, if a family has four students, there're, there are four devices.

 Speaker 8:            Oh, good.

 Speaker 5:            Um, yes. So I do, I do wanna provide a little more clarification on that. So, our
                       students, um, sixth through 12th grade are able to take those devices to, and
                       from school, um, our students K through five, keep those devices in the
                       classroom. Um, but we have, uh, worked with families, um, based on needs and,
                       um, you know, if they're, they would be out for an extended time, we do
                       support them, um, in using that device at home.

 Speaker 7:            President Bates.

 Betsy Bates:          Uh, Dr. Skeeters I had a question for you. On the goals that you, uh, presented
                       in action steps. Can you speak to the timeline for that please?

 Dr. Skeeters:         Absolutely. So, it's a little weird because we present our program evaluation in
                       January and it really was for last year. So the, the pr- the information I shared


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                       was everything that was, that happened last year. All the goals we accomplished
                       last year. Those eight goals we have right now are the, are the eight goals we
                       are currently working on this year. So the, the timeline is at the end of the year.
                       So, we'll be updating you next year on how we did on those goals.

 Speaker 6:            President Bates, if any-

 Speaker 8:            I have another question following on the one... I'm sorry, go ahead.

 Speaker 6:            Um, can, can you maybe give me a sense, maybe it's newness to the board,
                       what's the timing of curriculum reviews that come to the board, maybe in the
                       various areas? I know it's scattered and there's some cadence there. What,
                       what, what's some of that cadence specifically?

 Dr. Skeeters:         So, what we typically like is for our, a curriculum cycle to be approximately
                       every six years, doesn't work out perfectly, um, because there's a lot of
                       curricular areas. Um, and there's, uh, limited staff to facilitate that. Um, because
                       we've paused curriculum now for almost two and a half years, um, we are going
                       back to that cycle and we're going to evaluate what is the highest need. Um,
                       and we're going to, kind of, start over with that, with that, figuring out what,
                       what the highest need is, and then working toward, um, uh, you know, what's,
                       what's a priority and what's not as big of a priority.

 Dr. Skeeters:         So, um, once we feel like we can start that cycle up again, where we have the
                       capacity within our department, and also teachers have the capacity to engage
                       in that work, um, we're hopeful for next year, um, we will, um, be able to
                       provide a, um, hopefully we'll start with another, like, abouts every six years.
                       Probably take us a little bit longer since we've been delayed for a few years. Um,
                       but that's approximately the cycle.

 Speaker 6:            Yeah, that's helpful. Uh, just a follow up question to that. What's the, in your
                       eyes now seeing scores and assessments, and what, what would you consider
                       the, be the priorities, if you were to start rank ordering, you know, the
                       curriculum that we have and, and what would be the first or how you would
                       think about that?

 Dr. Skeeters:         Uh, so we actually have curriculum that hasn't been revised in several years. So
                       these, these two year, this two year delay has just delayed even longer. Um, so
                       we have some high school courses that, um, are operating with pretty old
                       curriculum. So, really we're looking at where, what is the greatest need in, in
                       that regard? Um, our current, our, our math and our ELA, like our core subjects,
                       our science, all of those have been pretty recently updated. Um, we adopted,
                       um, K-8 math, um, last year, um, or the year prior in, in, um, June of 2020. So we
                       implemented, um, last year. Um, and we are, um, currently, uh, looking at new
                       resources for six through eight math. Um, but everything else is, uh, in the core
                       areas, is pretty well up to date. Um, we have a lot of electives that need to be
                       updated, but we have several high school areas that, um, that have just been,


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                       due to the rapid change in, um, standards over the last several years, have just
                       been put on pause over and over. So, we really need to be digging into those.

 Betsy Bates:          I have one more question, Dr. Skeeters. Um, the presentation about the, um,
                       quadrants, maybe this will actually be for you instead. Um, I found that to be
                       very helpful. I like that it showed growth, but I can, can you just, again, provide
                       more information, more understanding about how the growth will the goal is
                       for that to lead to the student's full potential.

 Dr. Skeeters:         Yeah. You want me to talk about... So we, when I presented, um, iReady data,
                       it's really the overall how many kids are proficient, how many are, um,
                       advanced, basic, below basic, right? That data is good data, but it's not really
                       giving us the full picture, because if I'm proficient, I can still be proficient next
                       year or the next, at the next, um, at the next round of benchmarking. And it
                       doesn't show that I've grown. So, what this will do is being able, we can look at
                       growth after the second benchmark and then after the third benchmark, right?
                       And so, we can see how much where students are, where have they grown. And
                       again, with that chart, I showed you, um, it really helps us hone in on individual
                       students, but then as a class, as a whole, was the class more at a level two and
                       level three? Where was the class? Where was the grade level? And then where
                       was, where was the school? Right?

 Dr. Skeeters:         And so, we can really start, we can have a bird's eye view of quadrants saying,
                       you know, this school was, you know, primarily at a level, at a quadrant three,
                       down to, grade level, down to specific teachers down to specific students, um,
                       gives you a lot more information. Like if you think about like, grades, if I say
                       someone has a B, what does that tell you? What they, what, what does that tell
                       you that they know? If someone's proficient, what does that really tell you that
                       they know? But if we look at growth, we can say, you know, Greg is, you know,
                       he's high achieving he's, you know, high achieving high performing, um, high
                       growth. If I'm in the quadrant of high growth, uh, high performing and low
                       growth, that's telling me that I'm, I'm in the lucky quadrant.

 Dr. Skeeters:         My parents may work with me all the time. I may be of, just born super smart,
                       like what, whatever it is, but what are we doing to move those kids? So, it really
                       is the focus on every single student and just not the end game. Because, with
                       the quadrants we can make... it's timely, we can make adjustments right then. If
                       we only focus and have our goal at the NPI, that's what we call, actually, what
                       we call status, but it's autopsy data, right? We get that information, kids are
                       already gone. We can't make any changes.

 Dr. Skeeters:         So, what we're doing right now with the quadrants, it will obviously have a big
                       impact on the end goal, but we're monitoring it. We're actually part of, um,
                       we're not part of it, but we're following, um, Mo app, which is really looking
                       there. It's a group, that's districts all over Missouri, um, working with Desy to
                       look at the fu- the future of assessments. So even Desy's saying, "You know



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                       what, just one measurement, one snapshot, snapshot in time, doesn't
                       necessarily give us the picture of what we want for students." Thank you.

 Speaker 8:            Can I ask question? Needless to say people with staff being out. I think I heard
                       the phrase that, there were teachers that were teaching virtual, as well as in-
                       person at this particular time, when we had this particular issue. How did that
                       work for the people, for the teachers that were doing that? 'Cause that was
                       something that was, kind of, questioned in the very beginning?

 Speaker 9:            Yeah, I would say that it really depends on, um, the teacher and their level of
                       comfort and, um, based on their experience, like in the classroom. So, for some
                       teachers, they were very comfortable having basically two classrooms, right. So,
                       when you think about teaching virtually and teaching in-person simultaneously,
                       I have a classroom of students like you right here, and then I would have a
                       classroom of students right here.

 Speaker 8:            Mm-hmm (affirmative).

 Speaker 9:            Um, and so, for some going back and forth managing that, that shift was okay.
                       Um, and, uh, and, and they, they were willing to do that. No problem. For
                       others, that's, that's really challenging. Um, we have students here that I can't, I
                       cannot tell if they're engaged all the time, because I'm watching their faces. I
                       can see all of you, I thought, okay, now I look over here and say, are you guys all
                       okay? So, uh, it's, it's not ideal. Um, it was something that, uh, we offered as an
                       option to just try to do whatever we could to help, uh, to help kids through the,
                       through that, that time. Um, we, we would not recommend that being
                       something that we would do a long term, um, and because it, it's just incredibly
                       difficult.

 Speaker 9:            Um, and I, I think that, again, our teachers have just proven, uh, moment after
                       moment, time after time throughout the last couple years that, um, they can do
                       just about anything. Um, I just don't know that we always want to ask them to
                       do all of those things.

 Speaker 8:            Right. So, the other question I'd like to ask in this by probably the last one, and
                       that would be that, we had about 2% of our teaching of our student staff that
                       our student... I'm sorry, our students, that enrolled in virtual academy. Did that
                       change at all at the winter break? I mean, did we see more, did we see the
                       option now where maybe others were coming back in? And also, are we using,
                       when we're doing virtual academy... I had asked that question some time ago,
                       and that was that our, when we're doing this, it's actually a program that is
                       utilized. It's not our teachers teaching that. Correct?

 Speaker 9:            So, so let me, I'll answer that one first.

 Speaker 8:            Okay.



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 Speaker 9:            Um, actually we are using our teachers. Um, so we have, um, uh, classroom
                       teachers teaching K through eight, um, dedicated to just teaching virtual all day
                       long. And, um, we have a variety of teachers at the high school level teaching a
                       section here and a section there based on, um, the enrollment in that class. Uh,
                       we are also making use of a third party vendor like we did last year. We're using
                       Launch, um, to provide asynchronous instruction, uh, for the elective areas
                       primarily, and also for classes that, um, we did not, we were unable to provide a
                       dedicated staff member for, but that's at the high school level.

 Speaker 9:            Um, we have asynchronous instruction happening, so it's not live. Um,
                       asynchronous, asynchronous instruction happening for our middle school
                       students in their elective areas. Those courses were created, um, very quickly
                       last year, as we made a shift, um, midyear, that was a, that was something else
                       that we, we were able to facilitate. Um, when we noticed our students were not
                       doing so well with third party vendors, um, our teachers, uh, came together,
                       um, under the direction of one of our content leaders and, and pr- and built,
                       um, uh, courses for our students. And so, our teachers are teaching those this
                       year.

 Speaker 9:            Um, I believe Julia Luetkenhaus is one of our teachers, uh, for those classes.
                       And, um, and then at the elementary level, um, they received live instruction all
                       day long. Um, we were able to, um, find, um, a time in, uh, in some of our
                       special area teachers in their day. They can provide live instruction for, um, our
                       students who are virtually in our elementary level. So, um, the majority of the
                       instruction is provided by Wentzville School District teachers.

 Speaker 9:            Um, and then, um, as to your question about our enrollment, we did see a few,
                       um, a few parents requests to, um, to move back from, um, virtual to in-person.
                       Um, but that the numbers did not shift significantly.

 Speaker 8:            So, one of the questions that was always, seemed to be coming up anyway was
                       that, especially during the times of the more, in the very beginning, let's say, of
                       the COVID pandemic. Then, what we were, you had to make a decision. The
                       parents had to make a decision to go virtual. But if things changed at any point
                       in time, uh, if you, for example, for the people that were doing the hybrid, if
                       they wanted to go into virtual, the, the virtual academy, that wasn't an option.
                       Do we have more flexibility with that? 'Cause you know, I mean, it,
                       unfortunately we can't predict everything that's going to happen. So if we do
                       have a situation like that, is it easier to shift in? So that, shift in from one mode
                       to another? so that the child doesn't miss out on learning?

 Speaker 9:            Right. So it's, it's, we don't actually have a ton of flexibility in that area for a
                       reasons. Um, first of all, what we know, um, about, uh, good instruction is that
                       the, the fewer transitions for a student the better. So, if we are flip flopping, the
                       way they learn back and forth from in-person to virtual, back to in-person to
                       virtual, um, the, the more transitions that they encounter, um, the greater, the
                       impact on their achievement and their, their growth. So, we try to, to limit that.


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                       So that's why, um, the transitions occur at the, for the most part, at the natural
                       breaks of, um, a semester.

 Speaker 9:            Um, and we try really hard not to have those transitions happen at all. We,
                       really encourage families when they're making the decision to go to virtual, to
                       commit to the whole year. Um, because we, we believe that's in the best
                       interest of the student. Isn't always, um, uh, but for the majority of students,
                       that's what we, that's what we believe. Um, in addition, um, our attendance,
                       um, is, is a, a piece that makes it hard for us to be that flexible. If a student
                       starts the year and they are, um, enrolled in the virtual academy and they wish
                       to transition, um, back to in-person, um, we lose their attendance for the
                       semester, because, uh, that's, that is, um, at the state level. That's something
                       we haven't, we don't have any control over. Um, so, so that is problematic.

 Speaker 9:            And then finally, um, as, you know, as we stated, so last year we had over a
                       hundred teachers, um, teaching virtual. Uh, this year we have very few teachers
                       teaching virtually. And so the, the space that we have, the capacity to service
                       additional student, uh, we just don't have that. So, we do have limited flexibility
                       still, um, as, as we've moved into this year. And I would imagine that those, um,
                       those pieces that limit our flexibility right now will continue to, to, to be things
                       that we would be looking at, um, in the future.

 Speaker 8:            So, why would you, what do you attribute to the fewer virtual teachers?

 Speaker 9:            Our dumber or our enrollment was, um, significantly less this year. So, we had
                       over 3000 students last year. Um, we had just over 400 students this year. So
                       we just didn't need the staff, um, this year.

 Speaker 7:            I have a quick question. So, we're opening new middle school next year. Yay.
                       And we'll be bringing sixth grade back. Yay. Um, any discussions about bringing
                       additional course offerings to, to that middle school group and, and what will
                       that look like for the sixth graders? Will they have additional like, elective
                       opportunities, you know, more so than they do now in the elementary
                       buildings?

 Speaker 9:            I'm just, I'm so glad that you asked. So, uh, yes. Uh, this is, um, this is part of a,
                       a, like a larger look at actually, developing, um, pathway options for students.
                       And I'm, I'm not gonna get into the weeds on that right now. Um, we'll be
                       updating you more on that, um, in the future. It's tied to our CSIP goal into our,
                       um, uh, our, our goal for this current school year. But, um, we are adjusting and
                       changing some of our, um, our elective options for all the middle school
                       students to be in alignment with, uh, trying some things out in middle school so
                       that when they get to high school, they, they have an idea of what they, kind of,
                       like.

 Speaker 9:            Um, and, um, for our, our sixth grade students, um, we will have, uh, they have
                       expanded opportunities. Um, that may be limited depending upon where


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                       they're attending at this point, uh, because we are, we're rolling some things
                       out in a pilot fashion, so you can see how it goes. Um, and, uh, then we're going
                       to, uh, full scale that, um, well, we hope based on how it goes that we will be
                       opening that up full scale within, um, subsequent years.

 Speaker 6:            J- just a quick question, if I may.

 Speaker 9:            Yep.

 Speaker 6:            Have we had any, um, I know that the Springfield Public School's closed. Has
                       there been any disruption to launch specifically to that and, and what's the plan
                       as it relates to catching that up? Have they, have they communicated, kind of,
                       what the, what the situation is gonna be like?

 Speaker 9:            Yeah. So, I would be happy to allow, uh, Priscilla Frost to answer that question.
                       Priscilla has been working, um, with our, um, Secondary Virtual Academy, uh,
                       very closely. And we were just talking about this the other day. So, Priscilla, do
                       you mind?

 Priscilla Frost:      Yeah. So, Launch live classes are paused as a result of that. Um, we don't have
                       too many students in Launch live sections right now, I would say. Most of our
                       students enrolled in Launch. Those are sixth through 12th grade students,
                       mostly nine through 12th grade students are in asynchronous Launch classes.
                       And so, their coursework will continue on as normal through their canvas
                       courses. So...

 Speaker 7:            Anyone else? All right. Well, thank you very hard work you guys are doing very
                       important work. So, thank you for your time.

 Speaker 7:            Uh, oh, we lost the stress book. (laughs)

 Priscilla Frost:      [inaudible 02:05:19].

 Speaker 7:            It's right, it's right here. (laughs) All right. Next up Comprehensive School
                       Counseling program. So, we are excited to, uh, welcome, uh, Kristy
                       VanRonzelen. She is our lead school counselor for the district and Chris Turner,
                       who is our lead ESC for the district. They are going to share with you, um, our,
                       uh, comprehensive school counseling, uh, program evaluation. I just wanna say
                       a quick word. This is a, um, a great opportunity for the teaching and learning
                       department and the student services department to collaborate. Uh, the, uh,
                       school counselors, uh, fall under teaching and learning. Um, we provide, um,
                       the, the support for school counseling. Um, and the, um, Educational Support
                       Counselors, ESCs they fall under, uh, student services, but those individuals
                       come together, um, to form the comprehensive school counseling program, uh,
                       in the district.




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 Speaker 7:            And as we are working through, um, to develop our curriculum and our
                       program, they are working collaboratively, uh, to develop that together. And,
                       um, we've, we have such, uh, amazing strong relationships, I would say
                       between, um, uh, both sets of counselors. So anyway, without further ado,
                       Kristy and Chris.

 Chris Turner:         You may remember last year we showed the Phish video. We did some practice,
                       um, with deep breathing to, kind of, show you what, um, some of our school
                       counselors and ESCs are using with our youngest students. So, this year, um, I'm
                       gonna walk around and pass out, uh, countdown kits to show you some of the
                       other tools that we're using with our students K through 12 grade. So, as I'm
                       passing those out, Kristy's gonna share a little bit about what's in them and what
                       we use them for.

 Kristy VanRonze...:   So, I just wanna start by saying all of our school counselors and ESCs we come to
                       school every day just because we love students and we love helping and
                       working with students. Any way we can find to find a connection to help make
                       those students feel comfortable, to open up and share, and to help them to
                       learn self-regulation skills, to be able to return to the educational setting for
                       their learning, is we'll do that. Because, we just really care about the students.
                       As you get your bag, please feel free to play. I have found that most adults really
                       love the fidgets and the items in the bags as well. Most adult meetings, I find
                       someone fidgeting with something. It's not a surprise. We do not have to teach
                       kids what a fidget is, but sometimes we do have to teach kids how to use it to
                       regulate their emotions.

 Kristy VanRonze...:   It's amazing how much kids just want to be heard. They want to be listened to,
                       and we love to provide that safe space for them. So, inside your bags, go ahead
                       and dig in. There's some fidgets that can just relieve your anxiety or stress. You
                       can use it yourself. Last year, we did the breathing. The, my favorite thing is
                       when kids come to me and they're upset, and I talk about deep breathing, I get
                       a big eye roll, but then when I practice it with them and we go through it, it
                       works. And they realize that it works and it helps them. So, deep breathing is
                       one of the best skills that kids can use. Um, timers can help them just to kinda
                       see their time that they have with us and how much time that they can be
                       mindful. You have crayons seek and finds, different breathing cards, different
                       stress balls in there, notebooks for journaling, all kinds of tools that you can use
                       in your life as well. I think Chris wanted to talk about a couple of the items in the
                       bags.

 Chris Turner:         Oh, sure. One of the things you won't find in the bag, but if you've been to any
                       of our counselor's offices or mine, you'll see a sand tray, 'cause we use a lot of
                       sand, so relaxing for kids to come and stick their hands in the sand and kind of
                       manipulate that and very calming for them. So I, we use sand quite a bit. Um,
                       bubbles... Did you talk about bub-

 Kristy VanRonze...:   I did save it.


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 Chris Turner:         Okay. So, the bubbles are one of my favorites. Um, who doesn't, first of all, love
                       bubbles? But second of all, it's a really good practice if you try to blow one big
                       giant bubble, instead of just taking the bubble on. Usually kids wanna blow a
                       whole bunch of little bubbles. But if you, kind of, challenge them to take in a
                       slow, deep breath and blow it out, you, to blow one giant one that will actually
                       help them to learn how to slow down their breathing. So, you should try it at
                       home. Um, we actually attached on our website under mental health matters
                       tab accounting center, um, tab, so you can, kinda, look, um, at that and see all
                       the other things that you can add to that and parents as well. So...

 Kristy VanRonze...:   For the next step, I'm gonna take you through a little bit of the day in a life of a
                       school counselor. Unfortunately, I can't really give you a good picture because
                       every day is so very different. Our kids come into our buildings with just so
                       much on their shoulders. Kids and staff, to be honest with you and we're there
                       to support students and staff. But just, kind of, thinking about an overview of a
                       day in the life of some of the things that we work on, um, each and every day
                       with our students and staff members. We do meet with students daily to
                       process through family, peer academic and mental health struggles. There's
                       academic stressors from the building.

 Kristy VanRonze...:   They come into our buildings with stressors from home. We talk to them and
                       help support them through all of those situations. We teach preventative
                       classroom lessons. We offer small counseling groups to meet individual student
                       needs group setting. We work with students to plan schedules and to plan life
                       for after high school for future and career planning. We refer students to work
                       with our outside agency, mental health professionals that we partner with in
                       the Wentzville School District. We coordinate outside agency presentations for
                       all grade levels in the school district. We are members of the support team of
                       the schools. We start the 504 and IP- IEP processes and follow the 504 through
                       ongoing case management. And we just offer system support for all areas of the
                       building. We are all hands on deck when needed to support staff and families
                       and students.

 Chris Turner:         So, a little different, um, from the counselors, the ESCs do a little more intensive
                       work where we are doing, um, more of the mental health interventions,
                       including individual and group counseling. We are assessing students for self
                       harm and suicidal ideation. We also provide professional development to the
                       staff in our buildings. Um, we facilitate crisis response intervention after
                       building white crisis. This might look like, um, doing some grief counseling after
                       the death of a student or teacher. Um, we connect students with family and
                       families to outside resources and offer additional support to staff as needed. So,
                       just a few of our responsibilities.

 Speaker 7:            Okay. All done? All right. Any questions, comments?

 Speaker 6:            [crosstalk 02:12:45].



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 Speaker 7:            Mm-hmm (affirmative).

 Speaker 6:            I, I read in the program am update, it talked about, um, beginning to implement
                       a new system on tracking data. Can, can you re-speak to that implementation
                       what we're seeing with that and, and maybe the, the furthering of that. Does it
                       inform, either the staffing level that we have, maybe potential needs to address,
                       you know, things that we aren't able to address, things like that. Can, can you
                       maybe speak to the, the data and then what we're seeing from that if it...

 Speaker 9:            So, I just wanna start by addressing that, um, our goal last year, uh, for 2020, '21
                       was to, um, to identify the data for school counselors and for ESCs that we
                       thought was the most important to monitor, um, and then to create a system
                       for doing that. Uh, when we think about what's happening in a counseling
                       office, um, finding a way to collect that information is a little difficult. Um,
                       unfortunately last year, um, our counselors found themselves in similar
                       positions. Um, as many others, they were, um, substitute teaching, uh,
                       frequently. Um, we were, they were filling in where they could. Um, and then
                       they were also helping the students to manage, um, uh, sort of the, the trauma
                       that they were experiencing as they moved through the pandemic. So we were
                       unable to fully engage in that work.

 Speaker 9:            I know that the ESCs did a little bit more, um, independently. And so I'll let Chris
                       share, um, share what that is. So, what we're, what we're hoping to do and
                       what we're trying, we were hoping we'd be part of our, um, the creation of our
                       curriculum and our program for comprehensive school counseling program and
                       say, "Okay, if this is our program, what information do we need to monitor to
                       make sure that it is, um, having the impact that we, we are hoping it will?" Um,
                       but all of that had to, had to pause, uh, well, last year and it's paused this year.
                       So, um, we're hoping to move forward on the, um, identifying what we want to
                       be monitoring, um, before we actually put that program into place. So, I'll let
                       Chris speak a little bit more to, um, what the ESCs are doing.

 Chris Turner:         So, we are, we started collecting some data this school year, just on, um, the
                       different interventions that we are doing. Are we seeing kids individually for
                       group? Is it more crisis intervention? Are we doing more de-escalation with
                       students? Um, likewise, then we also started tracking, um, what is a presenting
                       issue that students are coming to us with? So we would like to use that to,
                       kinda, look at, um, what interventions then we're trying and where, where do
                       we need to target? Um, yes. So, the other thing we're looking at is the grade,
                       um, are we seeing specific, like, a large number of kids coming from a certain
                       grade level? Um, so... Thank you.

 Speaker 7:            All right. Any other questions? Thank you so much.

 Chris Turner:         You're welcome.

 Speaker 7:            Yeah.


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 Speaker 5:            Just a comment and it's actually related to all of the superintendent reports. I
                       know this was a deeper dive time wise than you'll typically see. Um, we spend
                       so much time at looking at new business as it relates to not, uh, old business,
                       but the items just after that, they're gonna be focused on construction. And we
                       talk about brick and mortar all the time. But especially what you've heard
                       tonight is truly the embodiment of what makes the district special, which is our-

                                     PART 4 OF 6 ENDS [02:16:04]

 Dr. Curtis Cain:      Tonight is truly the embodiment of what makes the district special, which is our
                       staff, and they have provided multiple examples of how much flexibility, uh,
                       they have as it relates to their work assignments but also dedication to help
                       meet the task.

 Dr. Curtis Cain:      I mean, it's been everything from help desk with technology, it's been
                       everything to delivering meals, to delivering meals, um, literally, uh, at different
                       locations across the district when we didn't know what in the world was going
                       on in the spring of 2020.

 Dr. Curtis Cain:      Uh, it's everything with our counselors and our ESC's. I cannot tell you the
                       stories, um, that aren't just stories or peoples' walks that they have supported,
                       and I don't just mean Monday through Friday, I mean on weekends; I mean late,
                       late at night, um, folks have gone above and beyond to make it all work and so,
                       um, I appreciate the metrics that have been shared.

 Dr. Curtis Cain:      Um, we should probably talk about, uh, the distribution of bags, uh, at a board
                       meeting. Uh, we'll talk about that, uh, for future, uh, feedback. There's gonna be
                       interesting names, given what's happened, um, this evening, but our folks
                       continue to step up and really shout out in terms of what they're doing, so
                       thank you to all of you, um, and not just the departments that are represented
                       tonight, our transportation department, um, what's happening with our
                       custodial, uh, and maintenance department, our support staff, most definitely
                       our teachers, our admin. People are waking up every day and figuring out what
                       it is that they're going to do because there's a good chance it's gonna be
                       something different than the... what they thought about as they went to bed
                       the previous evening, but they're showing up every day to make it happen in
                       Wentzville, so thank you to everyone.

 Betsy Bates:          All right. Next up is old business. We'll start with 13.1, policy 2770.

 Daniel Brice:         I make the motion to approve policy 2770 as presented.

 Betsy Bates:          All right. We have a motion. Do we have a second? All right, motion and a
                       second? Dr. Stolle, did you have questions on this one or just wanted it pulled
                       for a separate vote?




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 Shannon Stolle:       Um, I didn't have any questions. Actually, Vice President Brice beat me to the
                       punch. Really, what I'm, really what I'm wanting to do is I'm wanting to, um...

 Shannon Stolle:       I, I support the policy as presented but I would like to add the emergency
                       situation definition to the policy, that had been stricken, so that is the
                       discussion that I wanted to have surrounding this particular policy, but since a
                       motion has already been made and a second on the original policy, we have to-

 Speaker 10:           Ask for an amendment.

 Shannon Stolle:       Or if I could ask for an amendment-

 Speaker 10:           An amendment to the motion.

 Shannon Stolle:       ... to the moshment- motion to be. Can you, can you clarify it? Maybe I missed
                       it-

 Betsy Bates:          Sure.

 Shannon Stolle:       ... in there.

 Betsy Bates:          So, as the motion that Vice President Brice made-

 Shannon Stolle:       Mm-hmm.

 Betsy Bates:          ... basically a motion to amend to approve the policy, policy 2770 as presented
                       with the addition of the emergency situation definition that has been stricken,
                       being added back to the policy.

 Jason Goodson:        Di- did we get a, an agreement on the amendment?

 Daniel Brice:         I'll second the amendment.

 Jason Goodson:        [inaudible 02:19:49].

 Speaker 10:           [inaudible 02:19:52]

 Betsy Bates:          Yeah, so when you look at the policy right now as it's on the documents, it's
                       already been removed.

 Betsy Bates:          Um, when it was originally presented to us, I believe at the November regular
                       meeting, the, the edits, th- Anything that was deleted or added was on that but
                       what came back was the administration would review it, and so the original
                       edits are not there. Would that be correct, Mr. Schulte?

 Mr. Schulte:          That is correct and, um, the reason why it came back the way that it did is
                       because at the last meeting, um, it was actually approved as it was presented

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                       and then it was brought up for discussion so I took the approved, um, policy
                       back and I looked at the approved policy, and I had further discussion with Dr.
                       LaBrot and then also with legal council and it was the recommendation, um, of
                       Dr. LaBrot, myself and legal council, that as it was, as it's presented here this
                       evening meets the, um, needs of the district and it's, it's both accurate and
                       appropriate.

 Betsy Bates:          Yeah 'cause I, I guess I would be concerned approving. I don't know what the,
                       the stricken language is so I guess I have a hard time approving as amended-

 Shannon Stolle:       Sure.

 Betsy Bates:          ... because I don't know what the stricken language states.

 Shannon Stolle:       Sure. I, I can say what it said originally in the policy. "Emergency situation is
                       when in which a student's behavior poses a serious probable threat of imminent
                       physical harm to self or others, or destruction of school or other property."

 Dale Schaper:         Yeah.

 Betsy Bates:          And where was that within the document?

 Shannon Stolle:       That was from the November meeting and [inaudible 02:21:49]-

 Betsy Bates:          No but within the, within the current document, where would that reside?

 Shannon Stolle:       It's not there because as he state- stated, we, we approved it. We were talking
                       about potential changes to the policy, so what we gave was direction for that
                       review and so it came back to us the same way.

 Mr. Schulte:          Right. And s- so, um, and, and the last meeting, w- when we discussed the
                       emergency situation, the way that the policy is written is any time we
                       participate in this type of activity, um, that involves a student, regardless of
                       whether or not we would deem it to be an emergency or a non-emergency
                       situation, at any time we would be obligated to notify the parents, so, um,
                       whether the definition is in there or, or not, um, from legal's perspective and
                       our, from our perspective, um, d- does not, um, keep us from being responsible
                       to notify the family of what took place.

 Betsy Bates:          Yes, you are correct. I guess I- I'm not talking...

 Betsy Bates:          The context isn't in responding or no- notifying the parent, the context is what is
                       the catalyst for a response within this policy itself? So if... Th- this is the
                       definition of why we're responding in the policy, right? So I mean-

 Mr. Schulte:          Well, and-



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 Betsy Bates:          ... I understand-

 Mr. Schulte:          So from-

 Betsy Bates:          ... it's not a legal-

 Mr. Schulte:          Yeah. Right. From-

 Betsy Bates:          ... requirement, but-

 Mr. Schulte:          Well, from, from our perspective and from, um, legal's perspective, regardless
                       of whether or not we're talking about something we would classify, and then
                       I'm going off the old policy, whether we're classifying it as an emergency
                       situation, uh, a chemical restraint, whatever the, the issue would be, if, if we
                       have a student who is either secluded or restrained for any given reason, we
                       have an obligation through this policy to notify the parents according to what's
                       in the policy, and so, um, when, when we have specific, um, definitions or
                       terminology in a policy that one could argue is or is not eligible for this, um, it
                       makes it a little bit messier, and so the way that it reads now, um, the way that
                       it- it's interpreted is that at any time, if we have a student who is either
                       secluded or restrained, we need to follow what's in this policy. Doesn't matter
                       what the reason is at the time that we chose to either seclude o- or restrain, we
                       have an obligation to notify the parents as outlined in, in the policy.

 Betsy Bates:          I guess that does provide some understanding but there are definitions as
                       different types of restraint, so th- that's... those are for different reasons, I'm
                       assuming.

 Shannon Stolle:       I'm trying to pull both different versions of the policy up here to look. Can you
                       give me, um, a specific page that you're looking at?

 Betsy Bates:          I'm just talking about the definitions of various restraint. It looks like it goes on
                       to three to page four within the document provided.

 Betsy Bates:          Really, what the goal here is, I'm trying to s- to strengthen the policy, i- if there's
                       an opportunity to do that. I, I know that it's compliant with the legal
                       requirements.

 Shannon Stolle:       I would s-

 Mr. Schulte:          Well, and, and I would say that, um, this right here, um, represents our
                       responsibility to notify the families on any occasion, and it also protects the
                       district because it's very clear to us on how we work w- with our staff and how
                       we train our staff, because right now, um, our training will in- include the
                       verbiage that, "If you have a student who is either secluded or restrained, here's
                       what you need to do."



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 Mr. Schulte:          Um, w- we... A- another example would be we used to have policies, um, that
                       were independent of our equal opportunity policy, which is 1300, and so we had
                       separate regulations and procedures on how we would handle harassment and
                       discrimination, and to make it as simple as possible and, and for clarity, um, we
                       decided that we would combine all of those into one policy so we would have
                       one point of reference and one training point, and because w- we were running
                       into situations where people were using one policy versus another, another.

 Mr. Schulte:          Um, this here, um, from, from our perspective, will make it very clear with our
                       staff as to what their obligations are and make it clear to the parents as to when
                       we will be and how we will be communicating with them.

 Mr. Schulte:          I, I do understand your perspective and wanted to make sure that both
                       students, families, and the district are protected and being communicated with,
                       and I believe this, this meets the need but I understand what you're saying as
                       well.

 Betsy Bates:          Yeah. And again, I, I think you've addressed the communication piece very well.
                       A- again, I'm just trying to figure out again, so what I'm trying to get at is, what
                       would warrant such an action to restrain, or to restrain or seclude someone? So,
                       because that's not defined, who makes that decision? Does a, does a teacher?
                       Does an administrator? So that's, that's why I'm kind of stuck on that definition.

 Mr. Schulte:          Right.

 Betsy Bates:          Um, so-

 Mr. Schulte:          Well, and, and that, honestly, would be the, the trained professionals that are
                       working in the building and working with the student. They would be the, the
                       professional that we would have to lean on, um, and, and they would have to
                       use their judgment and all of their training and, and use the student's IEP or, or
                       the student's plan, um, to, to determine at what point they would need to take
                       additional measures to keep both the student, um, other students and, and staff
                       safe. So that, that is a very difficult, um, decision to make and it's al- it's also a
                       very d- difficult, um, I guess, procedure to, to document on when you would
                       and, and would not use it because the goal is to never have to use it, um, but it
                       is ultimately up to the trained professionals in the building.

 Betsy Bates:          And, and that's... Th- th- those are the questions that I have been fielding from,
                       from parents who...

 Betsy Bates:          I guess it caused confusion so thank you for clarifying. And then could you also
                       clarify, is this policy just limited to students on IEPs or five oh, fio- 504s or is it all
                       just [inaudible 02:28:36]?

 Mr. Schulte:          It is not. This is, this is all, all inclusive and, um, it, it will be, um, in place for any
                       student that we have in the district.


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 Betsy Bates:          Okay. Thank you.

 Dale Schaper:         S- s- so if we're good, do we just pull back the amendment?

 Shannon Stolle:       Well that's what I was gonna ask.

 Dale Schaper:         Yeah.

 Speaker 10:           [inaudible 02:28:58].

 Shannon Stolle:       Sorry, I, I did not hear you President Bra- Bates. So you're good at... with the
                       document as is, without the amendment?

 Betsy Bates:          Yes, I am now fine with the document without the amin- amendments, now that
                       it's been explained thoroughy- thoroughly.

 Shannon Stolle:       Okay, so we'll vote on the amendment first.

 Betsy Bates:          Mm-hmm (affirmative). Correct.

 Shannon Stolle:       We'll just vote that, that, vote that down. Okay.

 Betsy Bates:          Yep. Yeah, we'll have to vote on the amendment first. Correct.

 Shannon Stolle:       All right. So we will first vote on the amended language to the motion. All those
                       in favor say I. Those apposed, nay. Nay.

 Group:                Nay.

 Shannon Stolle:       So the motions is... Or, the amended piece does not pass, and then we have a
                       motion to approve the policy as presented. All those in favor say I.

 Group:                I.

 Shannon Stolle:       Those apposed, nay. Motion carries.

 Shannon Stolle:       All right. Up next... Okay. Sorry. All right, 13.2 COVID update.

 Dr. Curtis Cain:      Yes. Uh, Brin, would you mind pulling up that, um, link to the dashboard?

 Dr. Curtis Cain:      So from the last time we've had a conversation related to COVID, I bel- um, um,
                       it was Monday, at Monday's board meeting, um, mentioned that we would
                       bring information back to the board of education at this particular point in time.

 Dr. Curtis Cain:      Uh, I- I'll just say this, that, um, uh, there's some things that have been done as
                       it relates to staff testing that I will ask D- Dr. LaBrot to speak to in more detail.
                       Uh, you can see the expansion of what we are now providing in terms of

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                       information on the COVID, uh, page itself, both a 10-day count and then also a
                       five-day count as well.

 Dr. Curtis Cain:      Uh, you can see what we are, what we have highlighted and this has changed,
                       although it's been a shorter week in terms of student contact than we typically
                       have. You can see what is happening as relates to data, and what we're already
                       watching in terms of buildings, um, that, uh, are highlighted, uh, the, the four
                       element, or four buildings that are, uh, highlighted via the five-day column, um,
                       as well. So the board heard everything, uh, that was discussed on Monday.

 Dr. Curtis Cain:      Um, Jeri, is there anything that you want to add as it relates to, uh, testing that,
                       uh, an option that's, uh, we were not engaged in, uh, at the Monday board
                       meeting? Uh, but things have, um, uh, actually been up and going, and if you
                       wanna just give an update.

 Dr. LaBrot:           Sure. Yes, we were able to, um, take an opportunity to receive testing from the
                       state level.

 Dr. LaBrot:           We requested 1,000 tests, um, as quickly as we could before the testing was put
                       on hold due to supply. Um, while we weren't able to receive all 1,000, we did
                       receive 240 tests and were able to turn that around a- and start our drive-
                       through testing at the administrative center the next morning.

 Dr. LaBrot:           Um, since then we've tested f- uh, staff for six days. We've tested a hundred
                       and... 156 staff, which is more than 25 staff a day on average. Um, during that
                       time we have had a 48% positivity rate in our staff testing, um, so 74 of our 156
                       tests were, um, positive. Um, again, we re- we requested 1,000, we received
                       240. We have tested a 156 staff members and we have 84 tests remaining at
                       this time, which we would expect to last three to four more days.

 Dr. Curtis Cain:      That's been fast, there's no question about that.

 Dr. Curtis Cain:      We've provided board updates as it relates to positivity, uh, in terms of the
                       numbers that are coming back. We've also provided updates as it relates to fill
                       rate, uh, and we've actually spoken, uh, indirectly, right, with the last, um,
                       superintendent's reports in terms of what we're having to do as it relates to
                       flexing. Uh, we will, uh, continue to do so.

 Dr. Curtis Cain:      You've seen the slide before. I've said it multiple times since June 2nd, our goal
                       is to have school five days a week. Um, that is absolutely our goal is to do that
                       for the, um, close of the 2021, 2022 school year.

 Betsy Bates:          I-

 Dr. Curtis Cain:      Questions?

 Betsy Bates:          I, I did want to bring up really quick, because I know that we...


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 Betsy Bates:          Looking back, um, it was part of the motion and I know that we kind of
                       discussed it post the, the ability to do what you need as far as virtual meetings
                       for, um, teachers and such, and so I just want to bring that back in, in front of
                       the board because I know we kind of had given some direction, or a few board
                       members that said, "Yes, you know, whatever you need to do." So I don't know
                       if, um, what the board's thinking on that tonight or if you feel like you need a
                       motion.

 Betsy Bates:          Um, I know for myself, I feel like if you need to, to hold a virtual meeting then,
                       you know, that would be, you know, at your discretion, but...

 Jason Goodson:        Y- you [inaudible 02:34:28] Betsy, from my perspective I, I agree with that. I
                       think I made the statement in the last meeting to do that.

 Jason Goodson:        I guess the question, Dr. Cain, is for you. Do you need board action to do that? I,
                       I know we, we gave some flexibility on Tuesday but it wasn't all virtual for that
                       PD day. I mean, it, it makes sense for that to be. I think, you know, we've gotten
                       requests, um, y- r- f- from, our r- from our leadership and the teachers union on
                       ask there.

 Jason Goodson:        You know my view of most of those and we'll get to some of those as it relates
                       to the COVID lead policy here in a minute. These are, these are somewhat, to
                       me, no-brainers, s- so i- if there's board action to take, you know, that's what
                       I'm looking for. I think that's, I think, President Bates, that's your question as
                       well.

 Dr. Curtis Cain:      So, uh, as it relates to pivots within buildings, uh, as I've, as I shared last week
                       we have given building the green light to make changes and shifts as they, in
                       fact, deem warrant, uh, in fact warrant them, uh, see them being warranted, so
                       we will have an administrator, uh, meeting next week.

 Dr. Curtis Cain:      We'll provide an update of whatever is, uh, discussed and ultimately, uh,
                       provide it as it relates to direction this evening, but, um, there, there are pivots
                       that we continue and, uh, options that we continue to put on the table for our
                       building and departmental leaders to make the changes if they need to, uh, to
                       make the adjustments, literally on the fly, that they need to in order to keep our
                       doors open.

 Betsy Bates:          I don't feel like the question was answered. (laughs) So do you...

 Betsy Bates:          I- I- I mean, do you feel like you have the discretion to do what you need to do,
                       or would you feel more comfortable, specifically to this piece, to have, you
                       know, a vote from the board?

 Dr. Curtis Cain:      I have the f- I have the understanding w- as it relates to this piece. I have the
                       understanding, yes, we're okay. I have the understanding-



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 Betsy Bates:          Kay.

 Dr. Curtis Cain:      ... with this.

 Betsy Bates:          Okay. All right. Any other comments, questions from the board?

 Jason Goodson:        Y- yeah, maybe, um, like a comment.

 Jason Goodson:        S- so in the, in the same breath that we talked at the last meeting, a- and
                       certainly have shared afterwards, y- you know, flexibility and operating, we, we
                       talked about assemblies, those sorts of things. Just to confirm from an action
                       from the board, you're, you're good there as it relates to taking those steps as
                       well. Is that fair?

 Dr. Curtis Cain:      Uh, assemblies [inaudible 02:36:55], uh, is a different level of conversation; is a
                       completely different... [inaudible 02:36:59] we're starting t- to dive in so we're
                       talking about meetings, right? Meetings, I understand.

 Jason Goodson:        Yep.

 Dr. Curtis Cain:      Visitors was another part of the conversation-

 Jason Goodson:        Yep.

 Dr. Curtis Cain:      ... from last week.

 Jason Goodson:        Yep. I, I guess I'm being very specific to things that we've talked about. We have
                       voted before on a list of things and it... So therefore it, you know, our actions,
                       our vote dictated m- mostly those operational items because we voted on them.
                       We- we've pulled all those things back.

 Jason Goodson:        The question I think President Bates and I are asking is, i- if you want to enable
                       those things, do you have discretion or do you need board action for those
                       things? I believe, given, and I think I said this last time, given the level, uh, of
                       detail that is, I never believed we should have had to vote on that specifics. If
                       you want to take those discretions, I'm of the belief that you can and should on
                       those specific items. Virtual PD and assemblies, you know, what you do in
                       recess, those sorts of things.

 Dr. Curtis Cain:      As long as this board understands that's what's... That those are the marching
                       orders and that's what will be happening, I'm fine. Whether that's motion,
                       whether that's conversation, as long as y'all understand, good to go. If the board
                       is more comfortable with the motion, I will take the motion.

 Daniel Brice:         I would be more comfortable with the motion so it's clear. I mean, I think you're
                       leaving that pretty vague.



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 Jason Goodson:        I, I personally don't think we need to make a motion because then, then if it
                       wants to change, we gotta come back and make a motion. Th- this, this... these
                       little bitty details here, this isn't something we should be doing.

 Jason Goodson:        We- we've agreed that from a legal perspective there are reasons why we vote
                       on quarantines, and there's a reason we vote on masks. There, there is... Th-
                       that has been given to us in guidance. These other things? I don't, I don't, I don't
                       think we should be.

 Daniel Brice:         A- and I'll agree on some of those but you brought visitors in on that
                       conversation, so it's-

 Jason Goodson:        I did not. I, I made very clear not to because I've made my, my-

 Daniel Brice:         Okay.

 Jason Goodson:        ... views of the-

 Daniel Brice:         All right.

 Jason Goodson:        ... board-

 Daniel Brice:         As long as-

 Jason Goodson:        ... [inaudible 02:38:57] perspective there.

 Daniel Brice:         All right. Thanks for confirming. Yes.

 Betsy Bates:          Is the rest of the board good with that? Just trying to get some consensus.

 Shannon Stolle:       Yes, I'm, I'm fine with that.

 Betsy Bates:          Okay.

 Jason Goodson:        S- s- so one other thing before we move to, to, to maybe the COVID leave
                       discussion. W- w- we talk about, um, the stretch staff a- and, and that's certainly
                       a lot of things that we've heard about, um, a- and we've heard even just, you
                       know, with our program updates, the things that are having to be done. Th-
                       there was, a- again, a list of things recommended f- from leadership in the
                       staffing around the qu-

 Jason Goodson:        I, I would actually qualify it as the quantum of work that we are asking for
                       various things, um, that could arguably be non-value add to certain things. I
                       think in this example it was, you know, filling out report cards and taking and
                       writing those narratives.




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 Jason Goodson:        I, I bucket that into a quantum of work of things that could be argued around
                       value add, and are there things that we have given direction or maybe liberties,
                       uh, from a top-down perspective that allow the quantum of work that we're
                       asking our staff to do in this environment and lower that. What, what, what's
                       the response kind of to that, that ask and, and your perspectives?

 Dr. Curtis Cain:      Well, your example i- is a bit of a two-sided kind of con- conversation in the
                       sense of report cards, right? We want our parents to have access to both
                       quantitative, and in some ways, anecdotal, uh, feedback as it relates to their
                       students performance, and so if there are windows that we can extend, we'll
                       look at doing so, but we need to have a timeliness in terms of that response as
                       well and so, um, that was one of the reasons we wanted to provide as much
                       pivot as we could as related to our PD day, which was just two days ago, um,
                       our PD day, right, and in terms of providing that, that flexibility.

 Dr. Curtis Cain:      Uh, I, I hate to go back. I hate to mix this up but I'm looking literally at the slide
                       from, um, from Monday and I am hearing some mix in terms of in-person
                       meetings. That's one piece but then visitors, I'm not hearing consistency from
                       the board in terms of, in terms of flex there, so.

 Dr. Curtis Cain:      So let me just say it this way. So on Monday, when I say, "We're gonna pause for
                       now as it relates to visitors." That's a pivot. That's flexibility, in my mind.

 Daniel Brice:         Okay, so that's what I was speaking to. I, I don't agree with that.

 Betsy Bates:          Well he- he's either gonna have the discretion to make operational decisions or
                       not, right? And our, our...

 Betsy Bates:          We either are saying we want in on every operational decision or we don't, and I
                       think that's... I mean, we have to draw a line and reflect it back to what, you
                       know, Director Goodson said. There's... To me, it appears, you know, that there
                       is a clear realm, right, where we make a, where we, you know, must make a
                       decision versus where we turn the operational decisions over to the
                       administration.

 Jason Goodson:        I believe my language has drawn that line, so dip... I, I believe my language drew
                       that line.

 Jason Goodson:        Masks, quarantines and visitors to the side, everything else we'll just discuss.

 Betsy Bates:          Well, why, why is visitors to the-

 Jason Goodson:        Becau-

 Betsy Bates:          ... s-




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 Jason Goodson:        [inaudible 02:42:30]. I don't want to revisit this. We've made statements
                       publicly about what we think about visitors. It's material impact to COVID and
                       spread. That's my belief. That's why I'm drawing that line there.

 Shannon Stolle:       President Bates, so I just want to clarify because I'm looking back at the list of
                       the medication measures, and you're talking about staff meetings and you're
                       talking about parent meetings and assemblies. All of that is on the slide from
                       December, so are you wanting to pick and choose what you want to approve
                       from that? Because if you're talking about operationalizing things and giving
                       discretion, it would be all of it.

 Jason Goodson:        I listed the three things that I am not comfortable giving discretion to. That's it.

 Daniel Brice:         I mean, if, if we're gonna exclude visitors, that would exclude board members
                       from visiting schools. That would exclude all visitors and I just, I don't think
                       that's a path where you really want to go down.

 Dr. Curtis Cain:      I fully believe the science suggests that things will be improving, literally by the
                       time we come together for the board meeting at February 15. That goes back to
                       the motion, um, and the conversation on Monday which extended to February
                       11th.

 Dr. Curtis Cain:      That was purposeful. Banking on everything that I'm hearing, school work group
                       calls, conversations with, uh, medical professionals, uh, that are saying as,
                       saying that things will be, uh, in a much better place by that point in time, so
                       everything was set to expire at that point in time but that was a part of the
                       puzzle that we were putting together as related to mitigation, but I'm not
                       hearing consistent messaging in terms of expectation above masks.

 Dr. Curtis Cain:      Quarantining, which we haven't discussed, we have not brought up
                       quarantining. We understand where that is, and then visitors, those are the,
                       those are, those are current pinch points.

 Sandy Garber:         Are we doing... Are we including masking? I mean, I'm not... I didn't hear
                       everything clearly before. It was very garbled because we have a feedback here,
                       so. Okay, so we're not, we're not changing anything relative to masks.

 Jason Goodson:        No, and-

 Sandy Garber:         We're just talking about, we're just talking about-

 Betsy Bates:          Dr. Garber, we're just talking about-

 Sandy Garber:         ... [inaudible 02:45:06].




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 Betsy Bates:          Yeah, him having the opportu- or the discretion to, you know, determine based
                       on what's happening within a building, um, how they want to have assemblies,
                       you know, how they do recess, how... Some operational pieces, yeah.

 Daniel Brice:         So when you're saying you're having mixed reviews, I guess is there anyone that
                       is f- for not having visitors in our schools, on this board?

 Betsy Bates:          I am. And all I was, all I was trying to clarify was, you know, if that's the line,
                       right? Masks, quarantines, visitors, that's it. Everything else, you know, I can get
                       behind that. I just wanted to make sure it's not, "But this. But that." I mean...
                       And, and then we're tagging on all these other things as well.

 Speaker 10:           [inaudible 02:45:55]

 Dale Schaper:         Okay, your question was about visitors in school. My question is, what h- come
                       and we host some... a basketball game, we have visitors come to our school.
                       How does that affect us? Do we let them in?

 Jason Goodson:        Yeah, but-

 Dale Schaper:         I know what you're talking about here more or less. You're talking about parents
                       or whatever coming to the school, and you want to try to lim- limit the outside
                       presence, I presume, is for the purpose of this. Would that be correct, Dr. Cain?

 Dr. Curtis Cain:      Absolute. Uh, just in the sense right, right now what, what we're dealing with,
                       with fill rates, right, in terms of substitute and other fill rates, right, uh, if we
                       could keep the number of bodies that are down, that's something else that our,
                       uh, building and, building, admin and staff and buildings are not having to
                       problem solve and work their way through.

 Dr. Curtis Cain:      I am not saying, not saying, not saying that we bring any close or pause to any
                       sports. We didn't do it last year. There's no way I'm talking about doing that this
                       year but during the heart of the school day, if we could just bring some limit, for
                       now, to the number of bodies that are in and out of a school building, it would
                       be a benefit. It's not gonna answer all the questions that our staff and our
                       leaders are having to work their way through on a daily basis, but it's at least
                       something else that they aren't having to problem solve, uh, and work their way
                       through.

 Jason Goodson:        I sense a board majority that aligns to those three exceptions and move on.

 Betsy Bates:          I'm sorry, I couldn't hear.

 Jason Goodson:        I- I- I sense a board majority that agrees with those three exceptions and giving
                       you the liberty to move on. I- I don't think this needs to belabor any longer.

 Betsy Bates:          Yeah, I agree. Everyone else in agreement?


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 Speaker 10:           Agree.

 Betsy Bates:          Okay. We'll move on. 13.3, COVID Leave.

 Jason Goodson:        President Bates, before we jump into a motion, if, uh, we could have some
                       discussion on this item first, would be appreciated.

 Betsy Bates:          Sure. Do you have a specific question or comment?

 Jason Goodson:        Yes, um, my question was, uh, down here on recommendation, uh, through, uh,
                       June 30th, um, we're stating $511 per day, or $5,100, um, a- and I presume this
                       would be in case that a staff member would have a positive test more than
                       once, we're capping that to $5,100. Would that be a correct answer to my
                       question?

 Betsy Bates:          Yes. It's to cap the amount of pay that someone could receive for COVID leave,
                       yes.

 Jason Goodson:        Okay. Um, my second question, it says for leave for full-time employees, once
                       again, I w-

 Jason Goodson:        How are we divining the full time employees, uh, in this? Was... Is this, uh, full-
                       time employee be anybody considered that has health benefits, is that the
                       definition-

 Betsy Bates:          That's correct.

 Jason Goodson:        ... of a full-time employee?

 Betsy Bates:          That's correct.

 Jason Goodson:        M'kay. Whether they're certified or support or administrative. Kay.

 Daniel Brice:         All right, so I make the motion to approve the COVID leave recommendation as
                       presented, retroactive to January 3rd, 2022.

 Jason Goodson:        Second.

 Betsy Bates:          Motion and a second. Any other comment or discussion?

 Jason Goodson:        President Bates, if I may, I've got a couple questions, comments.

 Betsy Bates:          Sure.

 Jason Goodson:        So in the questions I submitted beforehand, um, I had asked for quantification
                       as it relates to including immediate family into this consideration. I kn- I know,
                       you know, we haven't had that in the past. However, we're, we're kind of in a

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                       unique situation and Rick, I didn't see, uh, a response to that specific
                       quantification.

 Jason Goodson:        I think you quantified the policy as presented here. Do you have any figures
                       specific to that?

 Betsy Bates:          We don't have any figures to that because that is not some.

                                      PART 5 OF 6 ENDS [02:50:04]

 Dr. Curtis Cain:      ... figures specific to that?

 Betsy Bates:          We don't have any figures to that because that is not something that we've had
                       in place this entire year. Um, we stopped doing that when quarantine notices
                       stopped being released by the health department, because we can't ask for
                       medical information about family members. So we did not... we have not given,
                       COVID leave for family illnesses for this entire school year.

 Dr. Curtis Cain:      Okay. And then maybe a second question. It's, it's somewhat related to the
                       leave, but from a funding perspective, we have teachers and staff that I
                       recognize and they get compensated if they use a plan hour for substitute
                       teaching. We've seen examples and instances where, um, because of fill rates,
                       because of where we're at, where teachers are asked to take on additional
                       students in the classroom during their regularly scheduled instructional time. I, I
                       don't know that this is material, but I, I, I think we should look to compensate in
                       some manner that time, that effort, that extra ask. Is... Have we looked at doing
                       that? And if not, why not?

 Betsy Bates:          It's a negotiated item. So we would have to go to the table and negotiate that
                       it's a wage or it's a working condition.

 Dr. Curtis Cain:      What would that look like? Timing-wise?

 Betsy Bates:          Um, well, we're coming up on negotiations.

 Dr. Curtis Cain:      Yep.

 Betsy Bates:          So we're come, we're coming up February and March, probably the end of
                       February, beginning of March, starting to meet with the teams for the next
                       school year. Um, otherwise we meet with our teams whenever they bring an
                       issue that they would like to talk about, we meet with them.

 Dr. Curtis Cain:      Thank you.

 Shannon Stolle:       One more time if I could, President Bates.

 Betsy Bates:          Sure.


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 Shannon Stolle:       This may just be, um, an issue of wording, but should just say per scheduled
                       workday possibly.

 Betsy Bates:          So it's... No, it's five days, it's five days of COVID leave and we are well aware. So
                       if, if it could be Monday through Friday, or if you happen to have your first
                       COVID day on a Wednesday, then your last day of quarantine might be, or
                       isolation, might be Sunday. And you only need three days of COVID, so it's up to
                       five.

 Catherine:            All right. Any other discussion?

 Sandy Garber:         So I just wanna ask another question then. So this is, this is for the employee
                       only on this? Okay. So since we do have employees that have children that are,
                       I'm not gonna say they're sick with COVID, but if they are sick with that, they,
                       they do not qualify. So they would have to use their sick leave or whatever like
                       that. And also the fact is, I wanna ask just a question about the tests, because
                       I'm not really sure exactly what the status is here in Missouri, as far as the
                       COVID test. I, I've been hearing that obviously, there's a shortage all over and I
                       don't, and I haven't... This hasn't been something I've been looking for, so I'm
                       not really sure. What if a person isn't able, I, I see that and I understand why you
                       wouldn't necessarily use a home test, but what if you're not able to find a test?

 Betsy Bates:          So, um, I believe either in this memo or in the board questions, I answered that
                       we are taking doctor's notes from, um, employees. So we've had a couple
                       employees through that first week where we haven't had this, we're gonna, we
                       would go back retroactively. But they have had a home test. And then we said,
                       we can't take a home test because that's a picture you could just have, right?
                       And so, um, we need something with their name on it. So they've been able to
                       get doctor's notes or their doctors will write a note and say, "They need to
                       isolate for five days 'cause they have COVID." So it hasn't been a problem. And
                       we will work one on one with any employees with whom it is a problem.

 Daniel Brice:         Director Garber, that's also why you've worked to open up the, um, drive
                       through testing windows that are option that we have in district as well, at the
                       administrative center.

 Shannon Stolle:       All right. If there's no other discussion, we will vote. All those in favor, say aye.

 Dr. Curtis Cain:      Aye.

 Dale Schaper:         Aye

 Daniel Brice:         Aye.

 Shannon Stolle:       Aye. Those opposed, nay. Motion carries. 13.4 challenge materials, decision.
                       President Bates, I would like to make a motion please.



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 Betsy Bates:          Okay.

 Shannon Stolle:       I make a motion to move The Bluest Eye by Tony Morrison on the restricted list
                       for the AP class only, with a parent opt-in requirement. Should the novel
                       become part of the curriculum or supple, or a supplement, the same procedure
                       will apply.

 Dale Schaper:         I second the motion.

 Betsy Bates:          Motion and a second. Director Stolle, do you have that written down that you
                       could share or read again with, with Katherine so she can record that motion.

 Shannon Stolle:       I'm sorry. You said you need me to, to repeat it please?

 Betsy Bates:          Mm-hmm (affirmative)

 Shannon Stolle:       Sure. I make a motion to move The Bluest Eye by Tony Morrison on the
                       restricted list for AP class only, with a parent opt-in requirement. Should the
                       novel become part of the curriculum or supplement, the same procedure will
                       apply.

 Betsy Bates:          The last sentence one time.

 Shannon Stolle:       Did you say read it one more time?

 Betsy Bates:          The last, [crosstalk 02:56:31] the last, last sentence.

 Shannon Stolle:       Should the novel become part of the curriculum or a supplement, the same
                       procedure will apply.

 Betsy Bates:          All right.

 Shannon Stolle:       Do we have discussion or question?

 Betsy Bates:          I guess I, I would ask, you know, the feasibility of, of that motion. Is that, is that
                       something that we can accommodate?

 Dr. Curtis Cain:      Carrie, uh, Dr. Curtis. Are you thinking about that? I, I'm trying to wrestle with
                       the AP, uh, core side of that, but just as you're thinking of the feasibility and
                       how we'd actually put this together, um, would you address any thoughts that
                       you have as it relates to as well?

 Shannon Stolle:       Uh, so, um, this is kind of just off the cuff, 'cause this is not something we have
                       in place for anything currently. Um, the, the feasibility, I think it's just gonna be
                       a little tough because what would have to happen is, um, the librarian would
                       have to make sure the student is in fact enrolled in an AP class before allowing
                       it. And then would have to make sure that there is a permission slip on file, um,


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                       for that particular text for that student who's in that class. So there's just
                       multiple steps. Um, I mean, is it doable? Um, I'm sure it is. I just don't... We
                       don't have a practice in place for something like that currently. Um, and I... That
                       would be something I would need to work with the, um, librarians to sort of
                       develop out a little bit better.

 Betsy Bates:          So I guess to, to piggyback off that, and if I capture your concern appropriately
                       Director Stolle, you know, if we're acknowledging that there is mature content
                       that we, we believe, you know, maybe we have some readers that will be ready
                       for, for that, right? Do you have any other ways that we can just make sure that
                       the book is in the, the hands of your appropriate readers as opposed to just
                       being on the shelf in the library?

 Dr. Skeeters:         So, um, so as we've shared previously, the, you know, the, the best way to
                       ensure that students are not, um, checking out a book, if you, if you wish that
                       they don't check out, that book is to communicate with the librarian and then
                       they will put that restriction. They will note that restriction, um, on that student
                       account. So when a student goes to check out the book, um, that would, that
                       would pop up and, um, the, the librarian would tell them that they need to
                       make a, a different selection. Um, that way it's completely individualized and it,
                       and it, um, addresses the, uh, all the students who are in, um, in the school.
                       Also, um, would allow whoever is working in the library at that time helping
                       students check out books, um, we would ensure that, uh, that that message was
                       consistent across, uh, the board. Um, and you know, depending upon who's in
                       there, they may not have access to look up a, a class roster, uh, for an AP class.
                       So, um, that's the best method, um, to restrict the access for individual
                       students.

 Sandy Garber:         Excuse me, I'd like to make a comment. I still have not changed my position on
                       this whatsoever. And, um, I do want to say that Missouri Laws in chapter 573 do
                       cover, they do cover definitions for minors. And that's exactly what our children
                       are here. Minors. My position is, I don't want these books to be in our,
                       anywhere in our schools. As I have stated before, if a parent wants to go and as,
                       as, is all right with their child reading it, by all means, go buy the book for your
                       child. But I would not wanna see this book in the school for any other child to
                       see again. Again, Missouri Laws on chapter 573, have a lot of definitions that
                       need to be looked at. And there are, there are guidelines and there are within
                       this chapter about showing our minor children obscenities. And that's exactly
                       what these books are, are obscenities that we are either showing in a video or
                       could be in a book.

 Sandy Garber:         We've had other forms of this before. It hasn't just been a book. So again, I'm
                       not ever going to stand behind this whatsoever in our schools. These are public
                       dollars, public money from our taxpayers, and I don't believe they have any
                       academic or social value to any of our students. And I know that Dr. [Skiers
                       03:01:35] I've asked you that before. What is the educational academic value to
                       this? I mean, I've been reading, uh, for many of our parents as well. We do have


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                       a situation in our nation of incest, uh, rape, um, many other things that some of
                       these books will encounter. I know that there is more than, I think, what do we
                       have? Two that I'm on the committee for. And then there is several other books
                       that were, what? how many, how many did you review Dale? Three or two?

 Dale Schaper:         One. This is the only one-

 Sandy Garber:         One. Okay.

 Dale Schaper:         ... that came to us so far. There's one other. There was three books that were,
                       um, pulled from the shelf and were not reviewed.

 Sandy Garber:         So as they were pulled from the shelf and not reviewed, what's the
                       determination about the books? We don't have that. No one has determined
                       that. No one's stated that. Again, these are minor children in K through 12, for
                       the most part. And I don't believe that any tax dollars in any school in the state
                       of Missouri should be supporting the purchase of these type of books, that I do
                       believe do not add any academic value to our students. And in fact, it could be
                       extremely harmful. I have shared with all of you a particular incident about
                       myself. And I can tell you that this is a memory that I have had for 60 plus years.
                       And I was only exposed to this one time, and can you imagine having the same
                       situation, maybe on a more repeated, you know, um, a timeframe. I just don't
                       think that it's... What, what value does it add honestly to anybody? I can vote
                       for this and I won't vote for it, ever.

 Betsy Bates:          Any other discussion? Yeah?

 Dale Schaper:         Bates?

 Betsy Bates:          Mm-hmm (affirmative)

 Dale Schaper:         If I could. Uh, first of all, as the board members setting on this board, uh, I
                       wanna say thank you to the other, uh, members that, uh, set on the committee
                       rather to, for this review. However, I would like to make a few comments if I
                       could please. Um, and some of these, uh, statements here where members
                       made, uh, comments to retain. And once this one case, it says, "This was a
                       retainment. I feel I want to be able to be the decider, the caregiver, the director
                       of my own family. If I decide this book is not appropriate for my child, then I will
                       contact the librarian." Um, people are welcome to make their own decisions for
                       their own children. Another case, um, parents who choose the additional
                       guidance for their child, selecting books, fitting their family values, can
                       communicate with the librarian. This was also somebody that, uh, with no
                       restrictions. And as I mentioned before, there's this one said we shall not band
                       books. We as school district, banned three books without even coming to the
                       review committee.




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 Dale Schaper:         So, um, and here's my personal feelings on, on our books that should be in our
                       schools, I guess. The words that we may see in books or the names that are
                       people are called, are offensive. There's no doubt about that. If their words are
                       delivering a moment in time of history where it has value that we learned from
                       the past, should it be acceptable? Maybe. But where I have exception with this
                       book, and I'm speaking as an individual board member here was on this
                       committee, when books are presented and a young person reads it, or we read
                       it as adults, we receive a picture and illustration of what we're reading. This
                       book here not only gives a picture or an illustration, it gives a play by play of
                       action. And from that, I feel that this book should not be retained. Thank you.

 Sandy Garber:         And I actually did pull down a full, a full copy of what I was able to find out, find,
                       as I also spoke with our attorney general old today about this, because there
                       are, there are entities that would be able to obviously bring legal action against
                       this. And as I said, I, I have never, I've not really ever heard anything about the
                       academic and social advantage of having any of these books, But there it is
                       Missouri Law, chapter 5, uh, 573, pornography and related offenses. Look it up.

 Dale Schaper:         So Shannon, when you first talked to me about this motion that you made. Uh, I
                       was on under the understanding that in your motion, you did not want this in
                       the library and you wanted a list for the AP teachers of the books the students
                       could read it. And then at that point, their parents would then approve, uh,
                       what books on this list they wanted. And if they didn't want 'em to read it, then
                       it, it would be marked off this list, but it was never in the libraries and it was for
                       our advanced readers. Is that not accurate?

 Shannon Stolle:       So this motion doesn't speak to other books that might be described as
                       controversial. Um, this just speaks to the book in question. Um, and so that's,
                       that's the scope of it. But the, the motion does try to... The whole point of the
                       motion is to achieve it, moving it from the library into the AP classroom. Um, I
                       do think it's something that's manageable. We have a opt-in sym... system for all
                       of our devices. I, I think we can do this. I, I, I know it's... There might be some
                       operational challenges, but, but I think this is, um... I mean, I obviously believe
                       this in this motion, I've read the book three times, one in my youth and then
                       bef... as it was challenged and then, uh, right before the board meeting a couple
                       days. So I've deliberated quite a bit about it. Um, president Bates, I now call for
                       a vote please.

 Betsy Bates:          All right. Can you read the motion one more time, Catherine?

 Catherine:            Director Stolle, please correct me if I'm wrong on any of these details. I have
                       director Stolle made the motion to move The Bluest Eye by Tony Morrison to
                       the restricted list for AP classes only with parent opt-in requirement. Should the
                       novel become part of a curriculum or a supplement, the same procedure will
                       apply. Uh, vice president Brice seconded the motion.




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 Dale Schaper:         So before we vote, I, I would like confirmation that this is not gonna be in our
                       libraries.

 Betsy Bates:          That's not part of the motion.

 Dale Schaper:         Okay. All right.

 Shannon Stolle:       So I wanna say the spirit of my motions is, it will not be in the libraries because
                       it says we will move the book from the library is to the AP classroom. If I need to
                       add that additional language I, I will do so. If, if the next-

 Betsy Bates:          I guess, it doesn't matter where it's stored. I mean, it doesn't matter if it's stored
                       in the library or in the classroom? I mean, I think the spirit is that it's not on the
                       shelf, accessible to any student that walks in the library, right?

 Shannon Stolle:       I would agree with that.

 Daniel Brice:         Operationally, behind the scene we'll figure out the mechanics. This is the, the
                       motion that's voted upon. We'll have to figure out the mechanics of how to do
                       that, what you just said.

 Erin Abbott:          President Bases, I have a question.

 Betsy Bates:          Mm-hmm (affirmative)

 Erin Abbott:          Will this be discriminating against students that want to read it that aren't in AP
                       classes?

 Dale Schaper:         That was unnecessary. And I would ask that we don't do that anymore.

 Betsy Bates:          Are you asking me Erin, or director Abbot?

 Erin Abbott:          I'm just asking the question in general.

 Betsy Bates:          I don't know that we will be able to meet every student's needs for the books
                       that they might wanna read. I think our district is trying to do the best job.
                       This... There, there is a maturity value in here that I think we have to recognize.
                       We, we, we are to, we are a public, uh, school district. And if there has to be
                       checks and balances to, to the materials that come into our schools, I think that
                       does that and adds a layer of responsibility to it.

 Shannon Stolle:       Well, and I think, and, and maybe you would agree or disagree, but if there was
                       another student outside of an AP class and their parent decided to opt-in for
                       them to read it, that would be an acception to be in, in one of those AP courses,
                       correct?

 Catherine:            I... That's not in the motion.


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 Dale Schaper:         What's going on? There's too much

 Erin Abbott:          President Bates, I have one more question. Um, Francis Hal did a book review
                       committee on this as well. They had two separate votes, one to retain it in the
                       high school library and one to have it in the pre-app AP English 2 curriculum,
                       separate votes. Is that something that's possible? I know Director Stolle has
                       made her motion, but I was wondering if that's something that we could
                       consider as a group.

 Shannon Stolle:       Can I just clarify something momentarily? So this currently isn't art of any
                       curriculum, um, as a practice in the Winslow school district. We do not write
                       book titles into our curriculum. Um, mainly because we do provide the option
                       for teachers to use their, um, their discretion and choice based on the students
                       who are in front of them to decide what text to bring to students. And secondly,
                       we allow students to opt out. So if we were to say that we really want this book
                       to be something that would only be included in an AP class, um, at any, at any
                       time a parent could have, could opt their student out of that without having to
                       opt in. Um, we, anytime we have a, a text, a book, a lesson that a parent does
                       not want their child to participate in, to read, to engage in, we find an alternate
                       for them. So, um, if we were to remove this book from the library and, um, and
                       say that it's going to be placed in, uh, in an AP classroom only, um, our
                       practice...

 Shannon Stolle:       First of all, that's, that's... We don't, we just don't, we don't typically do that
                       where we say this book is only going to be in this class. Um, but we also have a,
                       a practice in place already for, uh, what happens when a, a parent would, uh, or
                       a family member would not want their child reading that text.

 Dale Schaper:         I would agree with that. It, it seems like we're talking about restricting it, but on
                       the same hand, we're pushing it into the curriculum. So I, I don't know.

 Shannon Stolle:       So the motion that I made does was, does not say that it's, that it's in the
                       curriculum. It, it speaks to, if it should at some point, because that, that allows
                       some foresight. It says at some point, if it should become a curriculum or an
                       official supplement, which we don't have official supplements or optional text,
                       as Dr. Curtis had said. Um, so, so it's, it has foresight that, that, that's why I kind
                       of thought out the motion that way. Um, the reason for it being in the AP
                       classroom is because it, it is... I think that you provided, didn't you say it was a
                       suggested text or recommended text. I don't remember the verbiage exactly,
                       but that, that's why that, um, reference to AP classes in there.

 Betsy Bates:          All right. Ready for vote. All those in favor.

 Shannon Stolle:       President Bates before we vote, can we do a roll call, roll call vote, please?

 Betsy Bates:          We can. Catherine?



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 Catherine:            Just one moment, please.

 Sandy Garber:         Can I make one more statement? And the, the point that I'm going to try to
                       make is that, I know that there would be people that think that I'm trying to ban
                       the book. I'm not trying to ban the book. You can go to any place you want. You
                       can order it online. It's available. I'm not trying to ban the book. What I am
                       trying to do is to protect the mental health of our children, this particular
                       subject in general, whether it's the name of this book or another one serves no
                       academic educational advantage to our children. And as well, again, there are,
                       there are laws on the Missouri books about showing our children what they
                       would call, what is defined as obscenities. And Director Schaper just told you
                       about that.

 Sandy Garber:         I, I just believe that if we, if we don't even have the book in our libraries, or in
                       our, definitely not in our curriculum, but if we don't even have this book in our,
                       in our libraries, we've just eliminated a major problem for our children, as well
                       as the district. I see no purpose in this. There isn't any purpose in it, really.

 Catherine:            All right. You ready for call vote? Director Abbot?

 Erin Abbott:          Nay.

 Catherine:            President Bates?

 Betsy Bates:          Aye.

 Catherine:            Director Garber?

 Sandy Garber:         I will not be voting for this vote for this book.

 Catherine:            Is that a nay?

 Betsy Bates:          Is that a nay or is that an abstention?

 Catherine:            A nay.

 Sandy Garber:         I'm not going to vote for this book. No.

 Catherine:            Director Stolle?

 Shannon Stolle:       Aye.

 Catherine:            Secretary Schaper? Director Goodson?

 Jason Goodson:        Aye.

 Catherine:            Vice president Brice? Nays have it.

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 Betsy Bates:          Mm-hmm (affirmative) So at this point, we've not voted to keep it with
                       restriction, as Director Stolle recommended. Is there another motion someone
                       would like to make?

 Dale Schaper:         I'll make a vote, motion to, uh, not retain the book.

 Daniel Brice:         Second.

 Betsy Bates:          Motion and a second. Any other discussion? Let's continue with the roll call
                       vote, Catherine.

 Catherine:            Director Abbot-

 Sandy Garber:         Can you read the motion that you're going to be-

 Catherine:            Uh-

 Sandy Garber:         ... Read it please.

 Catherine:            Secretary Schaper made the motion not to retain the book. Vice president Brice
                       seconded. Director Abbot?

 Erin Abbott:          Nay.

 Catherine:            President Bates?

 Betsy Bates:          Nay.

 Catherine:            Director Garber?

 Sandy Garber:         I vote to not retain the book.

 Catherine:            Aye.

 Sandy Garber:         That aye.

 Catherine:            Director Stolle?

 Shannon Stolle:       Aye.

 Catherine:            Secretary Schaper?

 Dale Schaper:         Aye.

 Catherine:            Director Goodson?




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 Jason Goodson:        Nay.

 Catherine:            Vice president Brice?

 Daniel Brice:         Aye.

 Catherine:            Carries.

 Betsy Bates:          Next up, new business. 14.1 FMS change order. Number five.

 Daniel Brice:         I make the motion to approve Frontier Middle School, change order five as
                       presented.

 Shannon Stolle:       Second.

 Betsy Bates:          Any discussion?

 Dale Schaper:         Um, yes. Is this, uh, change order that was in the December meeting did not, did
                       not pass.

 Betsy Bates:          Was there a question or just a clarification?

 Dale Schaper:         Yeah. I just, just wanted to make sure I'm [inaudible 03:20:07]

 Betsy Bates:          All right. All is in favor. Say aye.

 Shannon Stolle:       Aye.

 Erin Abbott:          Aye.

 Daniel Brice:         Aye.

 Dr. Curtis Cain:      Aye.

 Betsy Bates:          Those opposed, nay. Motion carries 14.2 FMS change order, number six.

 Daniel Brice:         I make the motion to approve the Frontier Middle School change order six as
                       presented

 Betsy Bates:          Motion and a second. Any other discussion? All is in favor, say aye. Aye.

 Shannon Stolle:       Aye.

 Erin Abbott:          Aye.




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 Betsy Bates:          Those opposed, nay. Motion carries 14.3 North Point Middle School change
                       order 14.

 Daniel Brice:         I make the motion to approve north point Middle School change order 14 as
                       presented.

 Dr. Curtis Cain:      Second

 Betsy Bates:          Motion and a second. Any other discussion? Follow in favor, say aye. Aye.

 Shannon Stolle:       Aye.

 Erin Abbott:          Aye.

 Jason Goodson:        Aye.

 Erin Abbott:          Those opposed, nay. Motion carries 14.4 SMS classroom substantial completion.

 Daniel Brice:         I make the motion to approve the South Middle School classroom substantial
                       completion as presented.

 Sandy Garber:         Second.

 Betsy Bates:          Motion and a second. Any other discussion? Just wanna say congratulations on
                       another project accomplished.

 Dr. Curtis Cain:      Agree.

 Betsy Bates:          All right. All is in favor, say aye.

 Dr. Curtis Cain:      Aye.

 Betsy Bates:          Aye.

 Shannon Stolle:       Aye.

 Sandy Garber:         Aye.

 Daniel Brice:         Aye.

 Dale Schaper:         Aye.

 Jason Goodson:        Aye.

 Erin Abbott:          Aye.




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 Betsy Bates:          Those opposed, nay. Motion carries. Last up this evening, 14.5 position request
                       2022, 2023.

 Daniel Brice:         I make the motion to approve of the position request 2022, 2023 as presented.

 Dale Schaper:         Second.

 Betsy Bates:          Motion and a second. Any discussion or questions? All right. All in favor, say aye.
                       Aye.

 Dale Schaper:         Aye.

 Shannon Stolle:       Aye.

 Erin Abbott:          Aye.

 Sandy Garber:         Aye.

 Dr. Curtis Cain:      Aye.

 Daniel Brice:         Aye.

 Jason Goodson:        Aye.

 Catherine:            Aye.

 Betsy Bates:          Those opposed, nay. Motion. At this time, we need a motion to go back into
                       closed session

 Daniel Brice:         Second.

 Betsy Bates:          All right.

 Dr. Curtis Cain:      Can you add clarity?

 Betsy Bates:          We'll take a, a bit of a recess. 10 minute recess.

 Dr. Curtis Cain:      Can you add the legal reasons for the closed session, please to the motion?

 Betsy Bates:          Personal. All right. All those in favor. Aye.

 Dr. Curtis Cain:      Aye.

 Jason Goodson:        Aye.

 Daniel Brice:         Aye.


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 Erin Abbott:          Aye.

 Dale Schaper:         Aye.

 Betsy Bates:          Those opposed? Meeting adjourned.

                                    PART 6 OF 6 ENDS [03:22:47]




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